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16   MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18                           SOUTHERN DIVISION
19   MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and             )
20   CERCACOR LABORATORIES, INC.,            ) PLAINTIFFS MASIMO
     a Delaware corporation                  ) CORPORATION AND CERCACOR
21                                           ) LABORATORIES, INC.’S L.R. 52-1
                 Plaintiffs,                 )
22                                           ) [PROPOSED] FINDINGS OF FACT
           v.                                ) AND CONCLUSIONS OF LAW
23                                           )
     APPLE INC., a California corporation    ) Hon. James V. Selna
24                                           )
                 Defendant.                  ) Pre-Trial Conf.: 10/28/2024
25                                           )
                                             ) Trial: 11/05/2024
26
                        REDACTED VERSION OF DOCUMENT
27                      PROPOSED TO BE FILED UNDER SEAL
28
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1          Pursuant to Local Rule 52-1, Plaintiffs Masimo Corporation and Cercacor
2    Laboratories, Inc. respectfully submit these Proposed Findings of Fact and Conclusions
3    of Law. This document includes a summary of key findings and conclusions Masimo
4    anticipates the Court will make based upon Masimo’s understanding of the evidence
5    likely to be presented at trial. It does not purport to be exhaustive or to address all the
6    findings and conclusions that may be appropriate based on the evidence actually offered
7    at the trial scheduled to commence on Tuesday, November 5, 2024. Plaintiffs Masimo
8    Corporation and Cercacor Laboratories, Inc. (now Willow), are collectively referred to
9    as “Masimo” unless the distinction is material.
10                            I. JURISDICTION AND VENUE
11         Masimo Corporation is organized and exists under the laws of the State of
12   Delaware and has its principal place of business in Irvine, California. Dkt. 2177-1 at 4.
13   In 2024, Cercacor Laboratories, Inc., which was incorporated in Delaware, changed its
14   name to Willow Laboratories, Inc. and changed its state of incorporation to Nevada.
15   Hammarth ¶¶ 39-42; JTX-5188, JTX-5189, JTX-5190. Willow is organized and exists
16   under the laws of the State of Nevada and has its principal place of business in Irvine,
17   California. Dkt. 296-1 at 2; JTX-5187-5190.
18         Apple Inc. is organized and exists under the laws of the state of California, and
19   has a principal place of business at One Apple Park Way, Cupertino, California, 95014.
20   Dkt. 2177-1 at 4.
21         This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
22   § 1331 and § 1338(a) because the Patent Infringement claims arise under federal patent
23   laws, 35 U.S.C. §§ 271 and 281, because the Correction of Inventorship claims arise
24   under federal patent law, 35 U.S.C. § 256, and under the Declaratory Judgement Act, 28
25   U.S.C. §§ 2201 and 2202.
26         The Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a), over
27   Masimo’s state law claims for misappropriation of trade secrets under the California
28   Uniform Trade Secrets Act, Cal. Civ. Code § 3426, and for ownership of patent and
                                                -1-
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1    patent application claims.     Masimo’s state law claims are related to the patent
2    infringement and correction of inventorship claims such that that they form part of the
3    same case or controversy under Article III of the United States Constitution.
4          This Court has personal jurisdiction over Apple and venue is proper in this Court
5    pursuant to 28 U.S.C. §§ 1391(b) and 1400(b) because a substantial part of the events
6    giving rise to the parties’ dispute arose in this judicial district. All these parties have
7    been served and have appeared. No other parties have been named in the pleadings.
8                      II. PROCEDURAL POSTURE OF THE CASE
9          The parties will proceed to a bench trial on the following issues.
10         Masimo’s issues pled in its Fourth Amended Complaint (Dkt. 296-1; Dkt. 750)
11   include:
12   Claim 13:           Apple violated the California Uniform Trade Secret Act, Cal. Civ.
13                       Code § 3246 et seq. by misappropriating Masimo’s trade secrets.
14   Claims 14 & 20:     One or more Masimo employees should be named as an inventor of
15                       subject matter claimed in, and Masimo is at least a joint owner of,
16                       U.S. Patent No. 10,078,052.
17   Claims 15 & 21:     One or more Masimo employees should be named as an inventor of
18                       subject matter claimed in, and Masimo is at least a joint owner of,
19                       U.S. Patent No. 10,247,670.
20   Claims 16 & 22:     One or more Masimo employees should be named as an inventor of
21                       subject matter claimed in, and Masimo is at least a joint owner of,
22                       U.S. Patent No. 9,952,095.
23   Claim 23:           Masimo is at least a joint owner of U.S. Patent No. 10,219,754.
24   Claims 26 & 28:     One or more Masimo employees should be named as an inventor of
25                       subject matter claimed in, and Masimo is at least a joint owner of,
26                       U.S. Patent No. 11,009,390.
27         Apple’s issues for trial from its Amended Answer (Dkt. 370) include: (1) Statute
28   of Limitations, (2) Laches, and (3) Waiver.

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1             The Court bifurcated Masimo’s Claims 11-12 regarding Apple’s infringement of
2    Masimo’s patents (U.S. Patent Nos. 8,457,703 and 10,433,776, respectively) for trial at
3    a later date. Dkt. 2062. Masimo reserves all rights with respect to its Claim 4 of the
4    Fourth Amended Complaint (infringement of U.S. Patent No. 10,588,554).
5             On October 16, 2024, Plaintiffs submitted direct testimony by declaration. On
6    October 23, 2024, Apple submitted direct testimony by declaration. On October 25,
7    2024, Apple submitted direct testimony for Dr. Weber.
8             Commencing on November 5, 2024, the Court will conduct a bench trial.
9             Masimo and Cercacor hereby request that this Court, once it has reviewed all
10   evidence submitted by the parties, make the following Findings of Fact and Conclusions
11   of Law, pursuant to Rule 52(a) of the Federal Rules of Civil Procedure and Local Rule
12   52-1.
13                           III. PROPOSED FINDINGS OF FACT
14   A.       Background
15            1.    Pulse Oximetry
16            1.    Pulse oximeters non-invasively measure oxygen saturation in a person’s
17   blood. Diab ¶ 82.1 They also measure pulse rate, among other parameters. Id. Pulse
18   oximeters work by shining red and infrared light through the tissue, detecting the light
19   after it has passed through the tissue, and comparing how blood absorbs light at the
20   emitted wavelengths of red and infrared light. Id. ¶¶ 84-86.
21            2.    Pulse oximetry systems are typically composed of (1) a monitor containing
22   electronics and processing circuitry, (2) a sensor that attaches to a patient to detect a
23   physiological signal, and (3) a cable connecting the monitor and the sensor. Id. ¶ 83.
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         The parties’ trial declarations are cited by the last name of the relevant witness.

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8    JTX-29432 at -720-22; JTX-P-0132. The sensor attaches to a patient’s finger,
9    wrist, or other body part. Diab ¶ 83.
10            3.    The sensor comprises light sources, such as light-emitting diodes (“LEDs”),
11   that emit light at different wavelengths through the patient’s tissue. Id. ¶ 84. The sensor
12   measures signals by detecting light with an electronic part called a photodetector or
13   detector. Id. ¶ 89. That detector outputs one electrical signal (a composite signal) that
14   represents the intensity of all the detected light (i.e., emitted light that is not absorbed by
15   the tissue, as well as ambient light, that reaches the detector) over time. Id. To obtain
16   the relevant light intensity information from the detected signal, signal processing
17   extracts (or demodulates) the composite signal of interest (red and infrared light
18   intensity) and separates (or demultiplexes) that composite signal into the two signals
19   needed to calculate oxygen saturation, which are called photoplethysmographs (“pleths”
20   or “PPGs” for short): (1) one PPG for red light and (2) one PPG for infrared light. Id. ¶
21   90. An exemplary PPG for red light is shown below. Id.
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         Trial exhibits are cited as JTX-[#].

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     Diab ¶ 90.
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           4.     For a given wavelength (e.g., red or infrared light) the PPG contains
9
     information about the blood flow and blood content at the measurement site. Diab ¶ 90.
10
     The amount of light absorbed by the tissue, and the corresponding detected, signal
11
     changes over time. Id. ¶ 88. One reason this happens is because the heart is pumping
12
     blood through the body, which results in the amount of blood changing over time or
13
     pulsatile blood flow. Id.
14
           5.     Each cardiac cycle appears as a peak in the PPG followed by a trough. Id.
15
     ¶ 90. Accurately measuring the height of the peak and depth of the trough for each PPG
16
     is not needed to determine pulse rate. Id. Instead, pulse rate is determined by counting
17
     repeating features, such as peaks, in a PPG corresponding to one wavelength. Id.
18
     However, to determine oxygen saturation and other more complex measurements, it is
19
     critical to accurately measure the height of the peak and depth of the trough of the PPG
20
     for each emitted wavelength of light. Id. ¶¶ 90-91. The pulse oximeter uses the resulting
21
     red and infrared PPGs to determine an oxygen saturation value. Id. ¶ 109.
22
           6.     Early generation pulse oximeters, and many oximeters to this day, calculate
23
     incorrect measurements or no measurements at all when the PPG signals are corrupted,
24
     by movement or otherwise. Id. ¶¶ 8-9, 111-112.
25
           7.     Pulse oximetry sensors operate according to one of two modes:
26
     transmittance (or transmissive) (below, left) or reflectance (below, right).
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     Id. ¶ 85.
9
            8.     In a transmittance sensor, the sensor’s red and infrared light sources (shown
10
     at the top of the finger) are on the opposite side from the detector. The sensor can detect
11
     the emitted light that transmits through and reaches the detector on the other side of the
12
     tissue. Id.
13
            9.     In a reflectance sensor, the sensor’s red and infrared light sources and are
14
     on the same side of the tissue as the detector. The sensor can detect the emitted light
15
     that passes through tissue and reflects back to the sensor. Id. ¶ 86.
16
            10.    In either sensor type, some the light emitted by the sensor is absorbed by
17
     the patient’s tissue and pulsating blood before it is detected. Id. Depending on the
18
     measurement site (e.g., finger or wrist), a transmittance or reflectance pulse oximetry
19
     sensor may be used. Id. Masimo develops and sells transmittance and reflectance pulse
20
     oximetry sensors. Id. ¶ 87.
21
            11.    Diab is an inventor of U.S. Patent No. 5,632,272 (“the ’272 patent”), which
22
     is based on work he and his Masimo colleagues did between approximately 1990 and
23
     1994. Id. ¶ 92; JTX-1267. The ’272 patent provides an overview of some basic concepts
24
     applied by Masimo and modern pulse oximetry sensors. Diab ¶¶ 92-93.
25
            12.    Figure 11 of the ’272 patent illustrates the general components of a pulse
26
     oximetry sensor (300) at a high level. Id. ¶ 93; JTX-1267 at -829. The red emitter (301)
27
     and infrared emitter (302) are quickly turned on and off in alternating fashion many
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1    times per second. The emitted light passes through the tissue (310) and reaches the
2    detector (320), which converts the detected light into one analog electrical signal
3    corresponding to the intensity of all light that hits the detector (i.e., a composite signal).
4    The detector outputs the detected signal to the front-end analog signal conditioning
5    circuitry (330) for amplification. After amplification, the digital conversion circuit (332)
6    converts the analog signal into a digital signal (i.e., digital numbers). The digital signal
7    processing system (334) processes the digital signal to compute the user’s oxygen
8    saturation, and the computed value is shown on a display. Diab ¶¶ 93-94; JTX-1267 at
9    -829 (FIG. 11).
10         13.    Figure 12 of the ’272 patent shows amplification and filtering that is done
11   to remove irrelevant information from the detected signal (composite signal) before
12   converting it to a digital signal. JTX-1267 at -830 (FIG. 12). The entire detected signal
13   is first amplified by a small amount using a pre-amplifier (342). However, the entire
14   signal can include portions that are not relevant to the pulse oximetry calculation, such
15   as portions of the signal due to ambient light (e.g., from the sun, room lights, etc.) that
16   reaches the detector. Those irrelevant portions may have an intensity that is hundreds
17   of times larger than the intensity of the relevant information (i.e., the intensity of emitted
18   red and infrared light that is detected). Diab ¶¶ 96-99; JTX-1267 at -830 (FIG. 12).
19         14.    After high pass filtration, the signal is output to a fixed amplifier (346) and
20   a programmable-gain amplifier (348). The fixed amplifier amplifies the signal by a set
21   amount, or does nothing. The programmable-gain amplifier is programmable and can
22   be adjusted based on the needs of the device, such as by amplifying the signal more
23   when the signal is weaker (e.g., the user has a thicker finger) and less when the signal is
24   stronger (e.g., the user has a thinner finger). Diab ¶ 100; JTX-1267 at FIG. 12.
25         15.    After amplification, the signal is output to a low pass filter (350) to pass the
26   relevant parts of the signal while removing higher frequency noise that could result in
27   various errors if not removed. Diab ¶¶ 101-102; JTX-1267 at FIG. 12.
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1           16.    Modulation is a technique to transmit a signal through a medium that can
2    then be reliably extracted through an inverse process called demodulation. Figures 14
3    and 15 of the ’272 patent show the digital processing system (334) which performs
4    demodulation and demultiplexing functions on the digital signal. In pulse oximetry,
5    modulation refers to turning the red and infrared LEDs on and off so that the relevant
6    portions of the detected light signal (i.e., the portions of the light signal due to the sensor-
7    emitted red and infrared light) can be identified and extracted from ambient light after
8    being detected by the detector. The activation and deactivation of light sources (LEDs)
9    in a repetitive cycle over time creates a modulated signal. Diab ¶¶ 103-106; JTX-1267
10   at FIGS. 11, 14.
11          17.    A pulse oximetry device needs a way to extract the relevant portions of the
12   detected signal. The technique Masimo uses to extract the signal containing detected
13   light intensities corresponding to when the red and infrared LEDs are emitting light from
14   the overall detected signal is called demodulation. In FIG. 14 of the ’272 patent, after
15   amplification, filtration, and digitization, the relevant portions of the resulting digital
16   signal are obtained using the demodulation module (400). Diab ¶ 107; JTX-1267 at FIG.
17   14.
18          18.    Calculating measurements of oxygen saturation requires a separate red PPG
19   and an infrared PPG. Therefore, the composite signal must be separated into a red signal
20   and an infrared signal (i.e., separate “channels” or “data streams”) to create the PPGs.
21   The technique Masimo uses to separate the composite signal into a red signal and an
22   infrared signal is called demultiplexing (or “demux” or “dmux”). In FIG. 15 of the ’272
23   patent, demultiplexing separates the demodulated signal into four signals: (1) red +
24   ambient light, (2) ambient light, (3) infrared + ambient light, (4) ambient light. From
25   those signals, the device determines the separate red and infrared PPG signals that are
26   needed to calculate oxygen saturation measurements. Diab ¶ 108; JTX-1267 at FIG. 15.
27          19.    An idealized, demodulated and demultiplexed PPG for light of a particular
28   wavelength (red or infrared) is shown in FIG. 1 of the ’272 patent, with time (t) on the

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1    x-axis and the intensity of the detected light (I) on the y-axis. Diab ¶ 109; JTX-1267 at
2    FIG. 1.
3          20.    Once the detected signal has been conditioned and processed into separate
4    red and infrared PPG signals, the pulse oximeter device further separates each PPG
5    signal into (1) the varying portion attributable to the pulsatile arterial blood entering and
6    exiting the measurement site, which is called the “AC component,” and (2) the relatively
7    constant portion attributable to bloodless tissue, bone, and non-pulsatile blood, which is
8    called the “DC component.” Diab ¶ 109. Using the AC and DC components of the red
9    and infrared PPG signals, the pulse oximeter computes a “ratio of ratios” to determine
10   an oxygen saturation value (“SpO2”). Id.
11         2.     Masimo’s Founding and Goals
12         21.    Masimo is a leader in pulse oximetry. See Kiani ¶¶ 45-53. Most patient
13   monitoring companies, including most of Masimo’s former competitors, are now
14   Masimo customers who include Masimo pulse oximetry technology in their products.
15   Id. ¶ 48. Today, over 100 different OEMs integrate Masimo circuit boards into their
16   products, including predominantly patient monitors but also infant incubators, infant
17   warmers, ventilators, anesthesia machines, and defibrillators. Id.
18         22.    Joe Kiani founded Masimo, originally named Vital Signals, in 1989. Kiani
19   ¶¶ 1, 14-26. Mohamed Diab joined Masimo about six months after Masimo’s founding.
20   Kiani ¶ 20; Diab ¶ 7; JTX-781 at -766. As founded, the mission of Masimo was to
21   improve patient outcomes and reduce the cost of care by taking noninvasive monitoring
22   through “new sites and applications.” Kiani ¶ 15. By “new sites and application,” Kiani
23   meant to extend the use of pulse oximetry beyond the traditional setting in the operating
24   room and intensive care unit. Id. Traditionally, pulse oximetry had been significantly
25   more reliable in those settings where a patient is anesthetized and does not move. Id. ¶
26   17. Kiani recognized that pulse oximetry at the time suffered from a significant flaw—
27   the “motion problem” in pulse oximetry, which prevented accurate pulse oximetry
28   measurements when the patient was moving and led to false alarms. Id. ¶¶ 10-13, 15-

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1    16; Diab ¶¶ 8-9, 111-112. Kiani believed that he could solve the “motion problem.”
2    Kiani ¶¶ 10-13, 15-16. Others in the pulse oximetry industry maintained that the motion
3    problem was unsolvable. Kiani ¶ 3; Diab ¶ 11.
4          3.     Masimo’s Development of SET
5          23.    After Diab joined the company, Kiani and Diab developed pulse oximetry
6    algorithms. Kiani ¶ 22; Diab ¶ 12. Diab designed circuits and wrote the software that
7    Masimo used when developing its pulse oximetry technology. Id. Masimo named its
8    technology Masimo SET for “Signal Extraction Technology.” Kiani ¶ 23; Diab ¶ 13.
9          24.    By late 1989, Kiani and Diab recognized that, in addition to the “motion
10   problem,” another problem known as “low perfusion” contributed to the inaccuracy of
11   pulse oximeters. Kiani ¶¶ 10, 15, 17; Diab ¶¶ 8-9. Low perfusion happens when the
12   patient has low blood flow. Id. Low perfusion further complicates the motion problem
13   and makes it even more difficult for pulse oximeters to accurately measure during
14   motion. Id. As such, Masimo set a goal to address both low perfusion and motion
15   problems. Kiani ¶ 21; Diab ¶ 10.
16         25.    Through research and development, Kiani and Diab developed multiple
17   algorithms for measuring oxygen saturation. Diab ¶¶ 12-19. These algorithms use
18   adaptive filters, spectral estimation, frequency domain techniques, time domain
19   techniques, and other signal processing techniques. Id. By the early 1990s, Kiani and
20   Diab had discovered their first solution and could extract a reliable pulse oximetry signal
21   even when the measurement site was being disturbed by motion. Diab ¶ 13; Kiani ¶ 23.
22   This was the beginning of Masimo SET. Diab ¶¶ 13-19; Kiani ¶ 23. Kiani and Diab
23   photographed themselves documenting their success with their early results of their
24   breakthrough. Kiani ¶ 25; Diab ¶ 14; JTX-1902.
25         26.     Over many years, Kiani and Diab extensively researched and developed
26   these algorithms to improve the measurement accuracy of pulse oximeters. Diab ¶¶ 12-
27   19. Collectively, Masimo refers to its propriety oxygen saturation and pulse rate
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1    measuring technology, including the associated algorithms, as Masimo SET (or “Signal
2    Extraction Technology”). Diab ¶ 19.
3          27.   Masimo released its first products with SET technology in the 1990s. Diab
4    ¶¶ 21-38; Kiani ¶ 31; JTX-1270 at -304. In 1995, Masimo released circuit boards to
5    incorporate in other manufacturers’ products. Kiani ¶ 31; Diab ¶¶ 24-27; JTX-1270 at -
6    304. The first circuit board Masimo released was called MS-1. Id. In 1996, Masimo
7    released its first sensors called the LNOP (“low noise optical probe”) sensors. Kiani
8    ¶¶ 33-34; Diab ¶¶ 28-29; JTX-2749, 2750.
9          28.   Over 100 scientific studies have shown the superior accuracy and clinical
10   benefits of Masimo SET over conventional pulse oximetry. Kiani ¶¶ 72-76; Diab ¶¶ 66-
11   70; JTX-5134; JTX-2752; JTX-2748; JTX-1270; JTX-5175; JTX-5176.
12         29.   Masimo’s breakthrough technology proved especially useful with
13   premature infants in neonatal intensive care units. Kiani ¶¶ 72-73; Diab ¶ 40-41.
14   Several studies concluded that Masimo’s pulse oximeters saved the vision of thousands
15   of babies by preventing retinopathy of prematurity. Kiani ¶¶ 72-73; Diab ¶ 41.
16         30.   In 1998, Masimo announced it received Food and Drug Administration
17   (“FDA”) clearance for its measure-through motion technology. Kiani ¶ 37; JTX-5135
18   at -367; JTX-2749; JTX-2750. Masimo received expanded FDA clearance in 1999 for
19   its measure-through motion technology, covering neonates to adults. Kiani ¶ 40; Diab
20   35; JTX-5136 at -373-74. Masimo also released the “Radical” around this time. Diab
21   ¶¶ 35-37; JTX-1270.
22         31.   Masimo has received many awards recognizing the revolutionary
23   capabilities of Masimo SET. Kiani ¶¶ 81-88; JTX-1847; JTX-1857; JTX-2801; JTX-
24   5137; see also JTX-1868; JTX-1869; JTX-1870; JTX-1871; JTX-2725; JTX-2726; JTX-
25   2728 – JTX-2745; JTX5142 – JTX-5151; JTX-5181; JTX-5182.
26         32.   To introduce its first pulse oximeter to market, Masimo raised over $100
27   million for the necessary research and development. Kiani ¶ 44; Diab ¶ 39. Over the
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1    next 20 years, and to this day, Masimo continued to invest a large portion of its revenue
2    to further research and development. Kiani ¶ 44; Diab ¶ 39.
3          33.    The Masimo SET algorithms, and the insights obtained during their
4    development, are extremely valuable to Masimo. Diab ¶ 19. While at Masimo, Diab
5    had worked on algorithms to process and filter PPGs and related parameters for over
6    thirty years. Diab ¶ 239. Masimo’s applied signal processing, filtering algorithms, and
7    source code, as well as many details of Masimo’s system design and hardware, are
8    maintained in secret. Id. Kiani and Diab filed patents on many Masimo SET algorithms
9    individually, but others were kept confidential. Id. ¶ 20.
10         4.     Masimo Develops Rainbow Technology
11         34.    In around 1995, Diab and his team of engineers at Masimo started
12   developing technology for noninvasively measuring other physiological parameters,
13   besides oxygen saturation. Diab ¶¶ 117-118.
14         35.    In about 1998, Masimo spun out a company called Masimo Laboratories,
15   which later became Cercacor, and is now Willow. Kiani ¶ 55; Diab ¶ 50. Cercacor
16   focused on                                        and other physiological parameters that
17   nobody else had been able to measure. Diab ¶¶ 51, 54; Kiani ¶ 56. While working to
18   achieve such measurements, Masimo and Cercacor developed the ability to measure
19   oxygen saturation as well as a variety of useful physiological parameters using six, eight,
20   or more wavelengths of light. Diab ¶ 54. Masimo and Cercacor eventually referred to
21   these parameters as “rainbow” parameters and the technology as rainbow SET. Kiani
22   ¶ 60; Diab ¶ 54; JTX-1908.        Masimo and Cercacor entered into cross-licensing
23   agreements that allow them to work together confidentially on rainbow and the other
24   technologies they develop. Kiani ¶¶ 57-58; Diab ¶¶ 51-52; Hammarth ¶¶ 5-9; JTX 1344.
25         36.    In 2005, Masimo released its first products with rainbow technology:
26   (1) the MX-1 circuit board for OEM customers; (2) the Rad-57 handheld monitor; and
27   (3) the Radical-7 bedside monitor. Diab ¶¶ 58-59; JTX-1270 at -306-307; JTX-1879 at
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1    -053-135. The Rad-57 remains widely used by fire departments to check firefighters to
2    carbon monoxide (CO) poisoning. Diab ¶¶ 64-65; JTX-1882 at -657-58.
3          37.    Cercacor began developing a
4
5                            Kiani ¶ 99; JTX-1378.
6          38.    Through the rainbow project, Masimo developed the ability to measure
7    numerous blood parameters in addition to oxygen saturation and pulse rate, including
8    (1) carbon monoxide (SpCO), which can identify people with carbon monoxide
9    poisoning; (2) SpMet (methemoglobin), which can detect dysfunctional hemoglobin
10   caused by drugs administered in the hospital; and (3) total hemoglobin, which allows
11   detection of hidden bleeding is therefore important for surgeries or postpartum
12   hemorrhaging. Diab ¶¶ 54-57. Masimo’s advance from pulse oximetry to rainbow
13   technology was a significant leap forward in non-invasive monitoring because rainbow
14   could detect serious health issues that pulse oximeters could not. Id. ¶¶ 117-120.
15         5.     Masimo Hires Lamego
16         39.    In 2000, Masimo hired Lamego. Kiani ¶ 7150; Diab ¶ 138; Miller ¶ 16;
17   JTX-808 at -614.
18         40.    Lamego signed his first confidentiality agreement when he first joined
19   Masimo in 2000. JTX-810; Miller ¶ 18. Lamego agreed not to use or disclose Masimo’s
20   confidential information, during and after his employment at Masimo. JTX-810 at ¶¶ 1-
21   2; Miller ¶¶ 20-21. Lamego also agreed that the “fruits and products” of his labor at
22   Masimo would belong solely to Masimo. JTX-810 at ¶ 6; Miller ¶ 23.
23         41.    Before working at Masimo, Lamego had no experience with pulse
24   oximetry. Kiani ¶ 150; Diab ¶¶ 138-139. Diab taught Lamego about the technological
25   concepts critical to Masimo’s business, which was a major undertaking. Diab ¶ 139.
26         42.    When Lamego started at Masimo, Diab and Lamego worked closely
27   together every day, primarily on Masimo’s rainbow technology. Diab ¶ 140. Diab and
28   Lamego quickly became close, both as colleagues and friends. Id.

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1          43.   In 2001, Lamego left Masimo and moved to Brazil. Id. ¶ 141; Kiani ¶ 152;
2    Miller ¶ 17; JTX-808 at -614. By that time, Diab had taught Lamego everything he
3    knew about light propagation through tissue, how pulse oximeters work, Masimo’s prior
4    learnings in these areas, and Masimo’s goals to non-invasively measure other
5    physiological parameters. Diab ¶ 142.
6          44.   After Lamego left Masimo in 2001, Masimo developed a complex
7    computer simulation to formally assess the feasibility of its multi-wavelength sensor
8    concepts and technologies.    Id. ¶¶ 143-144.    The simulation, which required 40
9    computers connected together to run, was referred to as “Big Red.” Id.; JTX-1904.
10   Based on the results of the Big Red simulation, Kiani agreed that Masimo should create
11   a formal project, using more engineers and resources, to develop its multi-wavelength
12   sensor technologies for measuring additional physiological parameters (e.g., carbon
13   monoxide, total hemoglobin). Diab ¶ 145. That project became project rainbow. Id.
14         45.   Lamego later moved back to the United States and rejoined Masimo in 2003
15   as a research scientist. Kiani ¶ 152; Diab ¶ 158; Miller ¶ 17; JTX-808 at -614. When
16   Lamego returned to Masimo, he was part of Masimo’s core technical team and
17   frequently interacted with Diab and the rest of Masimo’s engineers, including hardware
18   engineers like Bob Smith and Dave Dalke, the rainbow project manager Ammar Al-Ali,
19   with the sensor team including Gene Mason and Sean Merritt, and basically every
20   Masimo engineer working on the rainbow project. Diab ¶ 162. Masimo tasked Diab
21   with exposing Lamego to Masimo’s technology. Kiani ¶ 153. Masimo also tasked
22   Lamego with learning from Diab, and then helping develop some of Masimo’s most
23   complex technologies. Kiani ¶ 155.
24         46.   On January 28, 2003, Lamego signed a second Masimo confidentiality
25   agreement. JTX-1312.
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1            6.     Lamego Becomes CTO of Cercacor and Develops Pronto-7
2            47.    Masimo believed Lamego could eventually take over Masimo’s advanced
3    research. Kiani ¶¶ 153-58. Because of concerns about Diab’s health at the time, Masimo
4    planned on having Lamego take over for Diab. Id.
5            48.    Masimo took the necessary steps to prepare Lamego to succeed Diab,
6    including exposing Lamego to everything Diab knew about Masimo technology, giving
7    Lamego unfettered access to Masimo’s confidential information, such as rainbow SET
8    source code, and having Lamego share an office with Diab. Id.; Diab ¶¶ 138-42.
9            49.    Lamego had spent years absorbing knowledge from Masimo and Cercacor.
10   E.g., Kiani ¶¶ 45-54, 72-76, 77-91 (explaining superiority of Masimo and Cercacor
11   technology), 153-58 (explaining Lamego’s exposure to Masimo and Cercacor
12   technology).
13           50.    In 2005, Lamego signed a third Masimo confidentiality agreement. JTX-
14   2978.
15           51.    By signing the Masimo confidentiality agreements, Lamego agreed to
16   multiple provisions stating: “After my employment with Masimo has terminated, I will
17   not disclose or make use of any Confidential Information for any purpose, either on my
18   own or on behalf of another business.” JTX-808 ¶ 2; JTX-1312 ¶ 2; JTX-2978 ¶ 2.
19           52.    In February 2007, Kiani appointed Lamego to CTO of Cercacor. Kiani
20   ¶¶ 159-162; JTX-830; Hammarth ¶ 27; Miller ¶ 25. Lamego served as Cercacor’s CTO
21   until January 2014. Hammarth ¶¶ 27-28; JTX-2263; Kiani ¶¶ 161, 202; JTX-786.
22           53.    Lamego was charged with assembling a team of engineers and scientists
23   with the goal of applying the rainbow technology to
24   Kiani ¶¶ 161-62; JTX-830.
25           54.    Even after Lamego left Masimo to become CTO of Cercacor, he continued
26   to have access to confidential Masimo documents. Muhsin ¶¶ 31-37; JTX-2354, 2556,
27   2560, 2565.
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1          55.    Cercacor engineers and technicians reported to Lamego as CTO. Lamego
2    reported to Cercacor’s CEO, Joe Kiani. Kiani ¶ 161; JTX-830. Kiani relied on Lamego
3    to lead Cercacor’s daily operations. Kiani ¶ 162.
4          56.    Lamego signed a Confidentiality Agreement, agreeing that his work
5    product would belong to Cercacor, and to not use or disclose confidential information if
6    he left Cercacor. JTX-769 ¶¶ 2, 7; Hammarth ¶¶ 30, 33, 35; Kiani ¶ 160; see also JTX-
7    2233 at -617 (¶¶ 2, 7).
8          57.    By signing the Cercacor Confidentiality Agreement, Lamego agreed to
9    JTX-769 ¶ 2 providing that: After my employment with [Cercacor] has terminated, I
10   will not disclose or make use of any Confidential Information for any purpose, either on
11   my own or on behalf of another business.
12         58.    By signing the Cercacor Confidentiality Agreement, Lamego also agreed
13   to JTX-769 ¶ 11, providing that: Upon termination of my employment for any reason,
14   I will immediately assemble all property of [Cercacor], including any proprietary or
15   confidential information, in my possession or under my control and return it
16   unconditionally to [Cercacor].
17         59.    As CTO, Lamego had access to all of Cercacor’s technical documents,
18   including source code, engineering, and clinical documents. Kiani ¶ 156; Hammarth ¶
19   24.
20         60.    Lamego supervised the development of the Pronto-7 monitor at Cercacor.
21   Poeze ¶¶ 16-18; Kiani ¶ 162.       Lamego also supervised Cercacor algorithm and
22   engineering teams. Poeze ¶¶ 16-18; Kiani ¶ 162. Lamego was Poeze’s supervisor when
23   he started at Cercacor. Poeze ¶ 16. Poeze worked on a product called G0 which became
24   the G1, a later version, and this became Pronto-7, which was the final product as sold.
25   Id. at ¶ 17. Pronto-7 is a handheld non-invasive hemoglobin measurement device. Id.
26   Cercacor uses multiple wavelengths of light from LEDs to measure the hemoglobin. Id.
27   The Pronto-7 and the things leading up to it involved demodulation and demultiplexing
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1    of the signals from the many wavelengths of light required to measure hemoglobin non-
2    invasively. Id.
3          61.   In 2010, Masimo released its Pronto and Pronto-7 devices, which allowed
4    clinicians to spot-check hemoglobin measurements non-invasively. Kiani ¶¶ 67-68;
5    Diab ¶¶ 61-62; JTX-1270 at -308; JTX-831.
6          62.   Lamego will testify that he was Cercacor’s “intellectual property shepherd”
7    and he knew it was his job to make sure that Masimo’s and Cercacor’s confidential
8    information “didn’t get public.”
9          63.   On January 9, 2014, Lamego resigned from Cercacor because he had
10   accepted an offer to join Apple. Kiani ¶ 202; JTX-786; JTX-1716; JTX-2987. Lamego
11   resigned with no forewarning to Cercacor, right at the beginning of the World Patient
12   Safety Summit that was being led by Kiani, with dignitaries from around the world.
13   Kiani ¶ 202; JTX-786. Lamego knew how important this Summit was for Kiani. Kiani
14   ¶ 205. Indeed, Kiani took extraordinary steps to show Lamego he was valued as
15   Cercacor’s CTO. Kiani ¶ 206. This included bringing Lamego to Patient Safety Summit
16   in 2013, and arranging to have Lamego meet and take a photograph with former
17   President Bill Clinton. Kiani ¶ 205; JTX-5141. Lamego’s resignation and the timing
18   caught Kiani completely off guard. Kiani ¶ 205.
19         7.    Masimo’s Consumer Products
20         64.   Before Lamego joined Masimo in 2000, Masimo explored the need for a
21   wireless, wearable pulse oximeter and sensor. Kiani ¶ 97; JTX-1506 at -311.
22         65.   In 2012, Masimo released the first pulse oximeter for both Apple and
23   Android mobile devices, which it called iSpO2. Kiani ¶¶ 92-94, 167-168; JTX-1270 at
24   -309, -366; JTX-P-0018; JTX-2761. Masimo also presented the iSpO2 at the Consumer
25   Electronics Show in January 2013. Kiani ¶ 167.
26         66.   In 2015, Masimo Corp. released a compact, wireless pulse oximeter called
27   MightySat that clips onto a person’s finger and does not require a separate monitor.
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1    Kiani ¶ 95; JTX-P-0022; JTX-P-0023, JTX-P-0169; JTX-5193; JTX-2542; JTX-3297;
2    JTX-3511.
3          67.    The Radius PPG is a wearable, wireless, disposable pulse oximeter.
4    Masimo announced its FDA clearance in May of 2019. Kiani ¶¶ 104-11; JTX-1354;
5    JTX-5183; JTX-5194; JTX-2998; JTX-P-0001; JTX-P-0002. The Radius PPG has been
6    in high demand and is a very successful product. Kiani ¶ 109.
7          68.    Masimo also developed a wrist-worn monitor for a health watch. Muhsin
8    ¶¶ 53-66; Kiani ¶¶ 113-14; JTX-5191; JTX-5192; JTX-P-0098; JTX-P-0099; JTX-P-
9    0110. Masimo called its first health watch the Masimo W1. Muhsin ¶ 53; Kiani ¶ 113;
10   JTX-P-0110.
11         69.    Masimo developed the Masimo W1 in part to monitor wearers that are
12   taking opioid drug for opioid induced respiratory depression, which can result in death.
13   Kiani ¶¶ 101-03, 112, 114.
14         70.    Masimo developed its wrist-worn technology with clinical-grade accuracy,
15   usability, and durability. Muhsin ¶ 54. Masimo followed FDA guidance on its clinical
16   tests to ensure its wrist-worn technology met Masimo’s standards for clinical-grade
17   accuracy. Id. at ¶¶ 55-59. Masimo tested the accuracy of the Masimo W1 against a gold
18   standard continuous invasive blood draw for reference. Id. at ¶ 59. Masimo also tested
19   the accuracy of the Masimo W1 in accordance with International standard ISO 80601-
20   2-61, by subjecting test subjects to desaturation events. Id. at ¶ 58, 60-62; JTX-696.
21         71.    In November 2023, Masimo received FDA 510(k) clearance for the
22   Masimo W1 for over the counter and prescription use to provide continuous real time
23   oxygen saturation and pulse rate. Muhsin ¶ 63; Kiani ¶ 116; JTX-5192 and 5193.
24         72.    Hospitals have begun to recognize the benefits of the Masimo W1 to
25   remotely monitor patients at home. Kiani ¶ 115.
26         73.    Masimo designed the wrist-worn sensor used in the Masimo W1 to be
27   modular, so that the module could be incorporated into third-party watches. Muhsin
28   ¶ 66; Kiani ¶¶ 122, 125; JTX-P-0096. The Masimo SET board used in the wrist-worn

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1    sensor module in the Masimo W1 incorporates all sensors and circuitry and is
2    approximately the size of a quarter. Kiani ¶ 118, JTX-P-0098, JTX-P-0110. Masimo’s
3    goal is to get its wrist-worn technology into the hands of as many people as possible, as
4    quickly as possible, and is open to having other companies manufacture their devices
5    using Masimo’s biosensing technology. Kiani ¶ 122.
6           74.
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10          75.   On September 13, 2024, Masimo announced a partnership with Google,
11   whereby Masimo will develop a reference platform using Masimo’s wrist-worn sensor
12   technology for third-party watches that use Google’s Wear OS platform. Id. at ¶ 124.
13   This partnership will allow third-party watch developers to incorporate Masimo’s wrist-
14   worn biosensing technologies and standardize on Masimo’s reference platform. Id.;
15   Muhsin ¶ 66.
16          76.   Masimo has plans for future wrist-worn products including
17        Freedom watch. Kiani ¶¶ 120-121; JTX-1363. The upcoming Freedom is designed
18   as a smartwatch that will include cell phone functionality and is designed to be a
19   beautiful product. Kiani ¶ 121.
20   B.     Masimo And Cercacor Protect Their Confidential Information
21          77.   Protecting intellectual property is critical to Masimo’s success in protecting
22   its innovations from its competitors. Kiani ¶¶ 49-54; Diab ¶¶ 71-77, 157, 178, 219, 228.
23   Masimo and Cercacor pursue both patent and trade secret protection. Kiani ¶¶ 126-134;
24   Diab ¶ 71.
25          78.   Masimo and Cercacor take measures to protect their confidential
26   information. Kiani ¶¶ 127-31; Diab ¶¶ 71-77. Masimo and Cercacor have policies
27   that require sensitive documents and information be labeled “CONFIDENTIAL AND
28   PROPRIETARY.” Kiani ¶ 128; Muhsin ¶¶ 17-19; Hammarth ¶ 25; see, e.g., JTX-936

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1    (exemplary Cercacor                   document labeled as “CONFIDENTIAL AND
2    PROPRIETARY”). The policies also restrict these documents and information from
3    disclosure to third parties, and employees on a need-to-know basis. Kiani ¶ 128; Muhsin
4    ¶¶ 17-19, 32-34; Hammarth ¶ 13; JTX-2556 (exemplary Masimo document showing that
5    Masimo grants network access to employees on a need-to-know basis); JTX-2266 at -
6    556 (exemplary Cercacor document restating the policy that access to confidential
7    information is granted on a “need-to-know” basis and must be authorized by
8    management).
9          79.   All employees at Masimo and Cercacor are responsible for maintaining
10   confidentiality. Kiani ¶ 130; Hammarth ¶¶ 10-11. Masimo and Cercacor have their
11   employees sign confidentiality agreements upon hiring, and whenever the agreement
12   changes. Miller ¶¶ 5-10, 12; Hammarth ¶¶ 10-12; Kiani ¶ 69; see also JTX-2514
13   (exemplary Masimo Employee Confidential Agreement); JTX-2388 (the Willow Code
14   of Business Conduct and Ethics); Diab ¶ 77; JTX-2981.1.
15         80.   Masimo and Cercacor require that each employee receive training on the
16   company’s confidentiality policies as part of their onboarding. Kiani ¶ 130; Muhsin
17   ¶ 20; Miller ¶ 12. The companies also provide ongoing training and annual retraining
18   to ensure that employees understand and adhere to these policies. Muhsin ¶ 22;
19   Hammarth ¶ 16. Masimo’s head of human resources (Tracy Miller), Cercacor’s Chief
20   Financial Officer, and sometimes Masimo’s general counsel (Tom McClenahan) are
21   involved in the training process. Kiani ¶ 130; Miller ¶ 12. Masimo occasionally has its
22   lawyers present to employees about the importance of compliance with Masimo’s
23   confidentiality policies. Muhsin ¶ 21; Diab ¶ 75.
24         81.   When an employee leaves the company, Masimo and Cercacor conduct an
25   exit interview with the employee to remind the employee of their continuing
26   confidentiality obligations and require them to return all Masimo property in their
27   possession. Miller ¶¶ 13-15; Hammarth ¶ 37.
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1          82.   The companies employ physical safeguards, including keycard access and
2    visitor logging, to protect confidential information. Muhsin ¶¶ 8-12; Hammarth ¶¶ 20-
3    21; Diab ¶¶ 72-73. Masimo also has secure sign-in and escort procedures for added
4    security. Muhsin ¶ 11.
5          83.   Kiani has always instructed engineers to record their work in engineering
6    notebooks. Kiani ¶ 127; Diab ¶ 72; Dalke ¶¶ 7-9; Poeze ¶¶ 12-13. Masimo and Cercacor
7    protect those notebooks by storing them in fireproof safes in a secure room on-site in a
8    manner in which individuals cannot access a notebook by themselves. Diab ¶ 73; Dalke
9    ¶ 7; Poeze ¶ 13. Access to notebooks is on a need-to-know basis only. Diab ¶ 73. An
10   employee requesting a notebook must go to the notebook safe room, ask the assistant
11   there to access a particular notebook, explain why they need access, and if access is
12   approved, the assistant retrieves the specified notebook and gives it to the requesting
13   employee. Id. Diab testified that every employee of Masimo and Cercacor that he
14   knows or has worked with handles their notebooks in this secure way. Id.
15         84.   Bilal Muhsin (for Masimo) and Gerry Hammarth (for Cercacor) testified
16   the companies secure their computer systems, implementing separate network drives,
17   each requiring approved credentials to access. Muhsin ¶¶ 13-16; Hammarth ¶¶ 22-23.
18         85.   The companies have policies that instruct employees on how to handle their
19   computer resources to ensure that these resources remain secure so the companies’
20   proprietary information will be protected. Kiani ¶ 129; Muhsin ¶¶ 22-23; Hammarth
21   ¶¶ 9, 21; Dalke ¶ 8; JTX-2217 (Masimo’s Information Security Policy, 2006); JTX-2564
22   (Masimo’s Information Technology Training Policy and Procedure, 2005); JTX-2561
23   (Masimo’s Computer Equipment Acceptable Use Policy, 2005); JTX-2563 (Masimo’s
24   Server Security Policy, 2005); JTX-2323 (Masimo’s Email Use Policy, 2005); JTX-
25   2402 (Cercacor Information Systems Policy/Procedure); JTX-2403 (Cercacor
26   Information Systems Policy/Procedure). These policies impose password requirements,
27   access restrictions, and training on Masimo Corp. and Cercacor employees to guard the
28   companies’ confidential information.      Muhsin ¶¶ 23, 27; JTX-2217; JTX-2561;

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1    Hammarth ¶ 14; JTX-2266 at -558-59. These policies are provided to new employees.
2    Muhsin ¶ 26; Hammarth ¶ 15.
3          86.    By default, Cercacor employees did not have access to Masimo’s source
4    code or assembly and design specifications. Such access would only be provided if
5    specially requested. Kiani ¶ 156.
6    C.    Masimo Develops Trade Secrets Relating to Sensors and Physiological
7          Parameter Measurement And Calculation Strategies
8          87.    Crosstalk is a problem in pulse oximetry. Diab ¶ 113. Crosstalk refers to
9    a phenomenon where unintended information infiltrates and is included in a signal or
10   data channel, thereby corrupting it and rendering the measurement inaccurate. Id. The
11   more crosstalk there is in a signal, the less accurate the resulting measurements will be.
12   Id.
13         88.    In the context of pulse oximetry, crosstalk can arise from numerous
14   sources. Diab ¶ 114. Because crosstalk can manifest in hidden ways, it is particularly
15   difficult and deceptive to identify and fix, especially because it can subtly affect the
16   already small amplitude (size) of the detected signal. Id. Such subtle changes in signal
17   amplitude are especially problematic because pulse oximetry requires accurately
18   determining the amplitude of the red and infrared PPGs signals. Id. If the signal
19   amplitude is not accurately determined, it can lead to significant errors in the resulting
20   oxygen saturation measurement. Id. Allowing crosstalk to distort the pulse oximetry
21   measurements given to a clinician could be dangerous, such as by leading the clinician
22   to believe that the patient’s oxygen saturation is normal when in truth their saturation is
23   concerningly lower. Id. ¶ 115.
24         89.    In developing its multi-wavelength rainbow technology, Masimo learned
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8          1.
9                                                                            Trade Secret L4)
10         90.    Light piping is a type of crosstalk that occurs when light emitted by the
11   sensor does not propagate through the user’s tissue and is, nevertheless, detected by the
12   photodetector. Diab ¶ 180. Light piping is problematic because it causes the detected
13   signal to be inaccurate, thereby causing inaccuracies in the non-invasive measurement
14   of oxygen saturation and other physiological parameters. Id. ¶ 181. Light piping can
15   make it appear that the intensity of the light that has passed through tissue is larger than
16   it actually is, thereby indicating that the tissue absorbed less light than it actually did.
17   Id. In this way, light piping corrupts the information needed for accurate measurements
18   (i.e., the intensity of the emitted light that was detected after passing through tissue). Id.
19   Light piping causes inaccurate measurements, and the inaccuracy due to light piping can
20   be very significant. Id.
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4           117. Madisetti opined that Masimo developed and was in possession of Trade
5    Secret L5. Madisetti ¶¶ 130-137.
6           3.
7                                                                              Trade Secret D1)
8           118. Masimo uses modulation to control the light transmitted into tissue and
9    demodulation and demultiplexing techniques to process the detected light into individual
10   channels, with each channel reflecting a particular light source. Diab ¶¶ 121-123.
11   Ideally, each of those separated channels is free of crosstalk. Id. Over the course of
12   many years, Diab and his team of engineers at Masimo developed and refined
13   demodulation and demultiplexing techniques to mitigate crosstalk or eliminate it
14   entirely, thereby increasing the accuracy of oxygen saturation and other measurements.
15   Id. ¶ 121.
16          119. In pulse oximetry and in Masimo’s products, a red LED is turned on
17   (activated) and off (deactivated) and an infrared LED is turned on (activated) and off
18   (deactivated) very quickly in a repeatable cycle. Id. ¶¶ 124-125; JTX-677 at FIG. 12.
19   The red LED and infrared LED are activated at different times. Diab ¶ 125; JTX-677 at
20   FIG. 12. The activation and deactivation of the LEDs in a repetitive cycle over time, or
21   modulation cycle, creates a modulated signal at the photodetector. Diab ¶¶ 124-125;
22   JTX-677 at FIG. 12.        The number of repeating cycles per second is called the
23   “modulation frequency” or modulation cycle, which is typically in the hundreds of
24   cycles per second. Id. A single detector outputs one signal corresponding to the intensity
25   of all light it measures over time. Id. Therefore, the detector signal includes increased
26   intensity for the time slots when the red LED or infrared LED are activated. Id. Because
27   the detector signal includes both red light intensity and infrared light intensity, it is called
28   a “composite signal.” Diab ¶ 125; JTX-677 at FIG. 12.

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12         130. Madisetti opined that Masimo developed and was in possession of Trade
13   Secret D1. Madisetti ¶¶ 174-185.
14         4.
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16                                                 Trade Secret D3)
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6         137. Lamego supervised Poeze in the development of Cercacor’s Pronto-7.
7    Poeze ¶¶ 16-18, 66. Lamego instructed Poeze on how to develop and implement
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9        Lamego explained to Poeze how
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23         158. Madisetti opined that Masimo developed and was in possession of Trade
24   Secret D10. Madisetti ¶¶ 230-49.
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1    D.    Lamego Learns About And Develops Masimo’s Trade Secrets
2          1.    Lamego Learns About
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4                                            Trade Secret L4)
5          159. When Lamego rejoined Masimo in 2003, he and Diab shared an office for
6    about a year and a half. Diab ¶¶ 191, 193. One of the very first things Diab assigned
7    Lamego to work on was                                                               .
8    Id. ¶ 191. Diab exposed Lamego to Masimo’s
9                                                        Id. ¶¶ 191-217; JTX-1906; JTX-
10   782; JTX-940; JTX-343; JTX-941; JTX-1022; JTX-1016; JTX-935; JTX-937; JTX-
11   1045; JTX-P-0161; JTX-P-0162; JTX-938; JTX-1041; JTX-173; JTX-777.
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10        167. Lamego     supervised   the     development   of   Masimo’s   Pronto-7.
11   Hammarth ¶ 28.
12                a document that Lamego had access to and implemented as Cercacor’s
13   CTO. Id. ¶¶ 24-26; JTX-936. Lamego also
14             JTX-1018
15        2.    Lamego Learns About
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18                                                           Trade Secret L5)
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13        3.    Lamego Learns About And Develops                          (D1)
14        171. Lamego was also aware of Masimo’s
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1          4.    Lamego Learns About And Develops
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3                (D3)
4          176. Lamego learned about and developed the Trade Secret D3 strategies,
5    including Masimo’s
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20         5.    Lamego Learns About and Develops
21                                     (D10)
22         179. Lamego also learned about and developed D10 strategies
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26   Trade Secret D10. Madisetti ¶¶ 210-211.
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1    E.    Masimo’s Trade Secrets Derive Independent Economic Value By Not Being
2          Generally Known
3          1.
4                                                        Management L4)
5          180. Diab explained that Masimo has consistently kept Masimo’s
6                                                             confidential and guarded this
7    information within the company. Diab ¶¶ 219, 240-41, 76.
8          181. Masimo’s
9            is very important to Masimo’s business. Diab ¶¶ 218-219, 239-241; Kiani ¶ 145;
10   JTX-172. Diab explained that
11
12
13
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17                                                         Id. ¶ 218; Kiani ¶ 220; JTX-307.
18         182. Diab explained that L4 being proprietary provides Masimo with a
19   competitive advantage because Masimo’s competitors have
20                                                                   Diab ¶¶ 218-219, 239-
21   241. The techniques encompassed by L4 have helped establish Masimo as a market
22   leader in pulse oximetry. Id.
23         183. Madisetti testified that L4 was not generally known based on, among other
24   things, Masimo’s independent development, the advantage L4 provides, Apple being
25   unaware of L4 prior to obtaining it from Lamego, and Apple’s expert finding no
26   reference disclosing L4 after extensive searching. Madisetti ¶¶ 115-127.
27         184. Madisetti explained the evidence that Masimo keeps Trade Secret L4
28   confidential. Id. ¶ 115; JTX-935 (marked “Confidential and Proprietary”); JTX-936

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1    (marked “Confidential and Proprietary”); JTX-937 (marked “Confidential and
2    Proprietary”).
3          185. Madisetti explained the evidence that L4 is critical to Masimo because it
4                                                                      , and that L4 gives
5    Masimo an advantage over its competitors. Madisetti ¶¶ 115-116; Kiani ¶¶ 138-147;
6    Diab ¶¶ 218-219, 239-241.
7          186. Madisetti explained that L4 is not generally known, and that the documents
8    Apple relies on do not disclose L4 because they do not address, for example,
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11                    Madisetti ¶¶ 118-127; JTX-3778.
12         2.
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14                (L5)
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20         191. Madisetti explained the evidence showing that Masimo keeps Trade
21   Secret L5 confidential. Id. ¶ 163; Dalke ¶¶ 7, 9; Diab ¶ 73.
22         192. Madisetti explained the evidence that Trade Secret L5 is important and
23   valuable to Masimo because it
24
25
26                              Madisetti ¶ 162; Dalke ¶¶ 60, 67, 82; Diab ¶ 240.
27         193. Madisetti explained that sophisticated companies like Apple and
28   did not know about the

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4                                                    Id.; JTX-541. Madisetti also explained
5    that despite reading Trade Secret L5 and conducting extensive searching, none of the
6    references Apple relies on disclose Trade Secret L5, including because they do not
7    address, for example,
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9                            Madisetti ¶¶ 164-170.
10         3.
11                                                                     Trade Secret D1)
12         194. Diab explained that Masimo has consistently kept
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14              Diab ¶¶ 157, 174, 178, 238, 76.
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11         197. Madisetti testified that Trade Secret D1 was not generally known based on,
12   among other things, Masimo’s independent development, the advantage D1 provides,
13   Apple being unaware of D1 prior to obtaining it from Lamego, and Apple’s expert
14   finding no reference disclosing D1 after extensive searching. Madisetti ¶¶ 195-204.
15         198. Madisetti explained the evidence showing that Masimo keeps Trade
16   Secret D1 confidential. Madisetti ¶ 195; Poeze ¶¶ 9-15; Diab ¶ 73.
17         199. Madisetti explained the evidence that Trade Secret D1 is critical to Masimo
18   because it
19
20                 Madisetti ¶ 195; JTX-153 at -843; JTX-273 at -369; JTX-828; 2022-08-12
21   Kanaris Tr. at 29:10-30:6, 37:12-38:13, 39:13-40:5, 48:8-49:20.
22         200. Madisetti explained Trade Secret D1 was not generally known, and that
23   despite reading Trade Secret D1 and conducting extensive searching, none of the
24   references Apple relies on disclose Trade Secret D1, including because they do not
25   address, for example,
26                                                                              . Madisetti
27   ¶¶ 197-204.
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1          4.
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3                                                      Trade Secret D3)
4          201. Diab and Poeze explained that Masimo has consistently kept Trade Secret
5    D3 confidential and carefully guarded this information within the company. Diab
6    ¶¶ 153-57, 238, 76; Poeze ¶¶ 9-15.
7          202. Trade Secret D3 is very important to Masimo’s business. Diab ¶¶ 153-54.
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16         203. Trade Secret D3 derives value from not being generally known because it
17   gives Masimo a significant advantage over competitors. Trade Secret D3’s
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21                                                     Id. ¶¶ 153-55; 238; Poeze ¶¶ 21, 32-
22   36, 65; JTX-832 at -907.
23         204. Madisetti testified that Trade Secret D3 was not generally known based on,
24   among other things, Masimo’s independent development, the advantage D3 provides,
25   Apple being unaware of D3 prior to obtaining it from Lamego, and Apple’s expert
26   finding no reference disclosing D3 after extensive searching. Madisetti ¶¶ 217-226.
27         205. Madisetti explained the evidence showing that Masimo keeps Trade
28   Secret D3 confidential. Madisetti ¶ 217; Poeze ¶¶ 9-15; Diab ¶ 73.

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1          206. Madisetti explained the evidence that Trade Secret D3
2                                     and gives Masimo an advantage over its competitors.
3    Madisetti ¶¶ 217-18; Diab ¶¶ 153-55; 2022-08-12 Kanaris Tr. at 29:10-30:6, 37:12-
4    38:13, 39:13-40:5, 48:8-49:20.
5          207. Madisetti explained that Trade Secret D3 is not generally known, including
6    because Apple admitted it was not generally known
7                           Madisetti ¶ 219. Madisetti explained that Trade Secret D3 is also
8    not generally known because after reading this trade secret and conducting extensive
9    searching, Apple could not find a reference disclosing Trade Secret D3. Madisetti
10   ¶¶ 220-26. None of the references Apple relies on address, for example,
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12                                                                                 Id.
13         5.
14                                                       Trade Secret D10)
15         208. Poeze explained that Masimo has consistently kept Trade Secret D10
16   confidential and carefully guarded this information within the company. Poeze ¶¶ 9-20.
17   Further, Poeze explained that he kept work
18   confidential and that access to his lab notebooks was restricted. Id. at ¶¶ 9-15.
19         209.
20                                                                                  Apple also
21   understood D10’s value. D10 gives Masimo an advantage over its competitors.
22         210. D10 is used in Masimo products to
23                                      Madisetti ¶¶ 253-257.
24         6.     Apple Derived Significant Economic Value from Masimo’s Trade
25                Secrets
26         211. Based on the foregoing, Masimo’s L4 and L5 trade secrets allowed Apple
27   to                                                                       . Furthermore,
28   Apple used Masimo’s D1, D3, and D10 in

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3          212. Kinrich explained that Apple earned significant profits from the blood
4    oxygen feature on Series 6 and 7 of the Apple Watch. Kinrich ¶¶ 5,17-19, 72. Thus,
5    Apple obtained significant economic value from its misappropriation.
6    F.    Apple Seeks to Obtain Masimo’s Technology and Lamego
7          213. In February 2012, Apple decided it wanted to pursue physiological
8    monitoring on the watch. JTX-431; Han Tr. at 144. Later in 2012, Apple began Project
9    “Rover” to identify third parties to help Apple develop its physiological monitoring
10   technology.   JTX-1718.        Apple’s goal was to identify and target physiological
11   monitoring companies. JTX-1718 at -186-192. Apple initially identified Masimo as a
12   “Tier 1” target. Id. at -191. Apple                               buy Masimo sensors
13   to extensively investigate and teardown. JTX-422; JTX-426; JTX-427; JTX-428; JTX-
14   429; Han Tr. at 16-17, 21, 59, 61, 74, 85, 112, 135. Apple used Masimo’s products as
15   the “baseline reference” and                     JTX-423; JTX-425; Han Tr. at 98, 106.
16         214. By January 2013, Apple refined its plans to obtain health technology.
17   Apple sought to identify an “experienced team [to] teach[] Apple” everything they knew
18   about physiological monitoring technology. JTX-260 at -106. Apple planned to “use[]
19   this stepping stone” so that Apple could “quickly” release its own products. Id. Apple
20   also elevated Masimo Corp. and Cercacor to the “two standout” companies in the field.
21   JTX-259 at -774; JTX-260 at -109 (
22                      .
23         215. Apple then decided to reach out to Masimo. In March 2013, Adrian Perica
24   (Apple’s VP for corporate acquisitions) told Masimo that Apple was considering
25   implementing Masimo technology in Apple products. JTX-1367 at -627. Perica
26   indicated Apple wanted to “dig deep” to learn about Masimo’s best-in-class technology.
27   Id. Apple then met with Masimo in May 2013. Kiani ¶¶ 167-70; JTX-559; Land ¶ 19.
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1    Masimo met with Apple to discuss possible collaboration at Apple’s Cupertino
2    headquarters. Kiani ¶¶ 171-76. Kiani told Lamego about Apple’s interest. Id. at ¶ 188.
3          216. Apple was very interested in Masimo and knew that Lamego and Kiani
4    were the two sole officers of Cercacor. 2021-12-15 Sellers Tr. 132:5-12; JTX-70. Apple
5    referred to Kiani as having a Steve Jobs like reputation in the medical space. JTX-70;
6    JTX-648; 2021-12-15 Sellers Tr. 132:5-12. Apple viewed Lamego as one of Kiani’s
7    “key guys.” Id.
8          217. Apple also expressed interest in purchasing Cercacor. Kiani ¶ 187. Kiani
9    had informed Lamego of this. Id. at ¶ 188. Kiani responded that Cercacor was not for
10   sale. Kiani ¶ 187.
11         218. In June 2013, Tim Cook, Apple CEO, asked Perica
12                                                                 JTX-316 at -708. Cook
13   told Perica that
14                 Id. Perica responded that Apple was “the most clueless” in the field of
15   “non-invasive diagnostics.” Id. at -707. Perica told Cook that Kiani was the medical
16   leader that Apple needed, but Kiani was “not a recruiting alternative.” Id.; JTX-59;
17   2021-12-15 Sellers Tr. at 75. Perica said he was considering an acquisition, but
18   acknowledged that acquiring companies as large as Masimo was not Apple’s “style.”
19   JTX-316 at -707; see also JTX-332; JTX-393; JTX-394; JX-395; Mansfield Tr. at 21-
20   22. Cook personally rejected acquiring Masimo. JTX-317 at -808.
21         219. Apple instead hired Masimo employees. Kiani ¶¶ 178-181, 183, 190, 202;
22   JTX-771, JTX-768. Apple first recruited Masimo’s Chief Medical Officer, Michael
23   O’Reilly. Kiani ¶¶ 178-79; JTX-58; 2021-12-15 Sellers Tr. at 52, 59, 67. O’Reilly told
24   Kiani that Apple’s offer was so lucrative he could not refuse. Kiani ¶ 181.
25
26                                   JTX-518; O’Reilly Tr. at 334. Apple continued trying
27   to recruit other engineers. Id. at ¶ 190; JTX-768. Kiani warned Lamego: “Be careful
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1    with your team. Look what apple is doing.” Kiani ¶ 190; JTX-768. Lamego thanked
2    Kiani and responded, “Will do.” Kiani ¶ 192; JTX-768.
3            220. Unbeknownst to Masimo and Kiani at the time, Apple also had contacted
4    Lamego earlier in 2013. JTX-1719. Lamego initially declined Apple’s offer. JTX-
5    1719.
6            221. On September 28, 2013, Lamego sent Kiani an email asking Kiani to make
7    Lamego CTO of both Masimo Corp. and Cercacor. Kiani ¶¶ 195-96; JTX-780; JTX-
8    5139; JTX-5140. In response to Lamego’s request, Kiani talked to Masimo’s executive
9    team. Kiani ¶¶ 198-99. Masimo was not interested in making Lamego its CTO. Id. at
10   ¶¶ 199-200. On October 1, 2013, Kiani told Lamego that Kiani did not plan to offer
11   Lamego the CTO position at Masimo Corp. Id. ¶ 200.
12           222. Lamego reconsidered Apple’s offer after Kiani rejected Lamego’s request
13   to become CTO of Masimo. Id. at ¶ 201. Unbeknownst to Kiani, Lamego sent an email
14   on October 2, 2013, to Apple CEO Tim Cook, offering to help Apple make medical
15   devices to compete with Masimo’s accuracy and performance in exchange for a senior
16   technical executive position at Apple. Kiani ¶ 166; JTX-1719; JTX-293. Lamego
17   offered to help solve Apple’s patient monitoring problems in exchange for a senior
18   executive position at Apple. JTX-1719. Lamego referenced his “10 years” at Masimo
19   and explained the “patient equation” was the “deceptive part” that only Lamego could
20   help solve. Id. Lamego invited Cook to respond if he agreed with Lamego’s offer. Id.
21           223. Lamego told Apple that making medical devices work in almost the entire
22   population is extremely complex and referred to this “patient equation” as the “deceptive
23   part” of creating “a competitive global medical, wellness and fitness product portfolio.”
24   JTX-1719. Lamego offered to help Apple solve the “deceptive part” to become “the
25   number one brand in the medical, fitness and wellness device market.” Id. Kiani did
26   not know of Lamego’s email to Tim Cook until it was made public years later in
27   litigation. Kiani ¶ 208.
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1            224. Early that same morning,
2                                                                                      . JTX-
3    566 at -008. When Apple sought O’Reilly’s input, O’Reilly warned Apple that most of
4    Lamego’s “knowledge (that would be directly applicable to what we are doing) may be
5    considered confidential information of Cercacor or Masimo.” Id. at -007; JTX-512;
6    O’Reilly Tr. at 316.
7            225.                                                     and how to engage with
8    Masimo, including whether to acquire Masimo or its “people.” JTX-263 at -760, -776
9    (Project Everest presentation); Tom Tr. at 8:21-9:1, 9:15-20, 21:17-22:4, 32:10-16, 46:1-
10   2, 46:6-7, 46:19-7; JTX-320. Around the same time, Apple had concluded that its own
11   sensor design was a “mess” and on a path to failure. JTX-335 at -321; JTX-337 at -427-
12   28; JTX-400 at -580; Mansfield Tr. at 32-35, 41; Williams Tr. at 30.
13           226.   Lamego knew that Apple was recruiting him to help Apple develop light-
14   based sensor hardware and algorithms, technologies that would compete with Masimo.
15   2021-12-15 Sellers Tr. at 25:17-26:9, 26:13-27:2, 27:19-28:2, 30:4-11, 31:3-32:4,
16   116:22-117:8, 117:15-118:9, 119:17-120:4, 234:20-235:20, 236:2-21, 242:20-243:11,
17   257; 274:7-14; JTX-652, JTX-655, JTX-657, JTX-659, JTX-668; JTX-648.
18           227. Lamego told Apple he wanted to make contributions on hardware and
19   algorithms. 2021-12-15 Sellers Tr. at 257:13-22.
20           228. Apple ultimately hired Lamego, despite O’Reilly’s warning. JTX-605;
21   2021-12-15 Sellers Tr. at 189:3-191:2.
22                                          2021-12-15 Sellers Tr. at 92:22-93:17.
23                                                                             JTX-1720 at -
24   986 (
25                  JTX-265 (Apple offered Lamego more than guidelines due to his
26   “specialized experience that we are deeply in need of”); JTX-295; JTX-628 (“this is an
27   acquisition-like need for specialized capability that we do not have at Apple”); JTX-295;
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1    2021-12-15 Sellers Tr. at 223:8-13; Williams Tr. at 96-97, 102-103, 105, 107-108; Kiani
2    ¶¶ 181-82.
3          229. Apple continued recruiting Masimo employees, including employees the
4    “next level down.” JTX-664. Over the next several years, Apple hired about        other
5    Masimo employees. Defendant Apple Inc.’s Supplemental Objections and Responses
6    to Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.’s Third Set of
7    Interrogatories to Defendant Apple Inc. (Nos. 11-13) at 16-18, 27; JTX-511; JTX-513-
8    517; O’Reilly Tr. at 323-333.
9                                                                                . See, e.g.,
10   JTX-255; Kim Tr. at 177-179.
11   G.    Apple Acquires Masimo’s Trade Secrets Through Lamego
12         230. After Lamego joined Apple, Masimo wrote to Apple explaining that
13   Lamego possessed Masimo’s trade secrets and that Apple should refrain from obtaining
14   them through Lamego. Kiani ¶¶ 209-11; JTX-2937. Apple quickly used Lamego to
15   learn about Masimo’s trade secrets.
16         231. By June 30, 2014, Lamego had already
17                                   JTX-3050.
18
19                                                               . Id.
20                                                                           Id. On July 11,
21   2014, Lamego left Apple. Defendant Apple Inc.’s Fourth Supplemental Objections and
22   Responses to Plaintiffs’ Masimo Corporation and Cercacor Laboratories, Inc.’s Third
23   Set of Interrogatories to Defendant Apple Inc. (No. 11) at 7-8; JTX-3641.
24         1.                                                            Trade Secret L4
25         232. Lamego joined Apple at the end of January 2014. Land ¶ 23; Block ¶ 15.
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1                                                                        ). JTX-143 at 568;
2    Land ¶ 24.
3          233.
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6                                                                                  Lamego
7    disclosed the knowledge of Trade Secret L4 that he gained at Masimo to Apple.
8    Madisetti ¶ 96.
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19         235.     Before Lamego disclosed Trade Secret L4 to Apple, Apple also used the
20                     JTX-1064 at 857, 859; JTX-1063 (email and attached presentation).;
21   Land ¶¶ 41-43.
22                JTX-1064 at 859; Land ¶ 44.
23         236. After Lamego arrived, Apple                    . Madisetti ¶ 99; Block ¶ 25.
24   By May 20, 2014, after Lamego disclosed Trade Secret L4 to Apple in
25                                   JTX-1064 at -859.
26
27                     Id.                         ); Land ¶ 44.
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17         3.                                        Trade Secret D1
18         245. Lamego disclosed Trade Secret D1 to Apple. Madisetti ¶¶ 186-191.
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21                                                          Madisetti ¶ 186; JTX-143 at-
22   568; see also JTX-23 at -169; JTX-24 at -123; JTX-25 at -535; JTX-27 at -226; Bokma
23   Tr. at 81, 96, 139; Fu Tr. at 130-32.
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16   H.    Other Apple Employees Knew Or Should Have Known Of Apple’s
17         Improper Acquisition of Masimo’s Trade Secrets (
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20         259. Apple and numerous Apple employees knew or should have known
21   Lamego was using and disclosing Masimo’s trade secrets to Apple. Apple created
22   “Project Rover” to find others to use as a “stepping stone” to develop physiological
23   monitoring products. JTX-260 at -106. Apple identified Masimo as the “standout,” met
24   with Masimo, and considered an acquisition. JTX-59 at -932; JTX-259 at -774; JTX-
25   316 at -707; JTX-332; JTX-394; JTX-395 at -497; JTX-556 at -191; JTX-559 at -800;
26   JTX-3997; Mansfield Tr. at 21-22. By September 2013, Apple concluded its sensor
27   project was a “mess” and “will fail.” JTX-335 at -321; JTX-337 at -427-28; JTX-400 at
28   -580; Mansfield Tr. at 32-35, 41. In October 2013, Lamego contacted Cook and

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4             264. The Series 6 watch was the first product that Apple introduced with a blood
5    oxygen feature. Madisetti ¶ 103. As discussed above, addressing the
6    problem becomes even more critical for measuring blood oxygen. Supra §§ III.A.1;
7    III.C.1.                      that might have been acceptable to a pulse rate-only sensor,
8    such as those in Apple Watches before the Series 6, were no longer acceptable for the
9    oxygen saturation sensor, such as that in the Apple Watch Series 6 and 7. Madisetti
10   ¶ 103.
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1         2.    Apple Uses and Discloses L5 In Its Development and Manufacturing
2               Of the Apple Watch
3         272. As explained above, Apple received the L5 Trade Secret from Masimo and
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9          3.    Apple Uses and Discloses D1, D3, and D10 In Its Development Of the
10               Apple Watch
11         276. As explained above,                       disclosed and claimed Masimo’s
12   D1, D3, and D10. Supra §§ III. G.3-III. G.5. Thus, Apple used, acquired, and disclosed
13   D1, D3, and D10
14         277. Apple used Masimo Trade Secret D1 and acknowledged its value.
15   Madisetti ¶ 194.
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23         278. Therefore, Apple recognized how valuable
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1                                                                Diab explained that the color
2    was selected, in part, for its reflective properties. Diab ¶ 217. The TF-I has a light
3    emitter in one aperture and a detector.
4          283. Apple’s expert, Sarrafzadeh, has opined
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12   Thus, Masimo’s TF-I sensor embodies every aspect of claim 1. Madisetti ¶ 283.
13   Lamego was exposed to that TF-I sensor during his work at Masimo and Cercacor and
14   through his interactions with Diab. Diab ¶ 208.
15         284. In addition to the TF-I, Marcelo Lamego was named as an inventor on
16   multiple Masimo patent applications regarding reflectors and reflective layers. Lamego
17   was a named inventor on U.S. Patent Pub. No. 2006/0211924 (’924 publication) that
18   published on September 21, 2006. JTX-1206. Lamego was also a named inventor on
19   U.S. Patent Pub. No. 2010/0030040 (’040 publication) that published on February 4,
20   2010. JTX-1207.
21         285. The disclosure in the ’924 and ’040 publications include all the features of
22   claim 1 of the ’052 patent. In the ’040 publication, the housing is shown in Figure 7B
23   and described in paragraph 108. JTX-1207 at -954 (FIG. 7B), -008 ([0088]), -010
24   ([0104], [0105], [0108], [0111]); see also id. at -004 ([0009], [0015]), -943-48 (FIGS.
25   3A-3F). In the ’040 publication, the light emitters are also shown in Figure 7B and
26   referenced in, at least, paragraph 87. Id. at -954 (FIG. 7B), -008 ([0087]), -010 ([0112]);
27   see also id. at -004 ([0027], [0029]), -005 ([0050]), -006-07 ([0063]-[0073]). In the ’040
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1    publication, the detectors are also shown in Figure 7B and referenced, at least, in
2    paragraph 87 of the ’040 publication. Id. at -954 (FIG. 7B), -008 ([0087]), -010 ([0112]).
3          286. The reflector and reflective layer disclosure in the ’040 publication is in
4    paragraphs 90, 104, and 105. JTX-1207 at -009 ([0090]), -010 ([0104], [0105]). For
5    example, the ’040 publication teaches “It can be constructed of reflective material (e.g.,
6    white silicone or plastic).” Id. at -010 ([0104]). The ’040 publication similarly teaches
7    that the sensor “can be constructed of white material used for reflective purposes (such
8    as white silicone or plastic)” and the detector shell “can be constructed of reflective
9    material, such as white silicone or plastic.” Id. at -009 ([0090]), -010 ([0105]). The
10   specification also teaches that “such materials can increase the usable signal at a detector
11   by forcing light back into the tissue and measurement site.” Id. at -010 ([0105]).
12         287. The disclosure in the ’924 publication includes a sensor that can be formed
13   as “a reflectance” device. JTX-1206 at -645 ([0057]); see also id. at -597 (FIGS. 2B,
14   2C). In the ’924 publication, an emitter shell and a detector shell form a housing of the
15   sensor. Id. at -650 ([0097]). The emitter is described in the ’924 publication as
16   comprising an emitter pad 3000 with emitter array 700 formed on the pad and an emitter
17   window 3020 providing an optical path for the emitter array. Id. ([0099]); see also id.
18   at -622-23 (FIGS. 30A-H).       The detector is described in the ’924 publication as
19   comprising a detector pad 3100 with a shoe box 3200 formed on it to accommodate the
20   detector assembly 2400. Id. at -650 ([0099], [0101]). The ’924 publication also
21   describes that the shoe box is colored black and the emitter pad 3000 and detector pad
22   3100 are each colored white or other substantially light reflecting color. Id. ([0101]).
23         288. Masimo, with Lamego’s involvement, already conceived of every
24   limitation of Claim 1 of each of the ’052 patent while Lamego still worked at Masimo.
25   Madisetti ¶ 295. Lamego’s later filing of patent applications at Apple reflect his earlier
26   work at Masimo rather than anything he developed at Apple. Id. Thus, at a minimum,
27   Masimo should be added as an owner of the ’052 patent. Id.
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1          289. Furthermore, as Warren opined, all the limitations in the ’052 patent are
2    generally known concepts except for the “reflector” limitation in the claim 1 of the ’052
3    patent. Madisetti ¶ 293. However,
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7                                                                      Madisetti ¶ 296. Thus,
8    Masimo had possession of those concepts before Lamego. Id. This shows that Diab
9    should be added as an inventor of the ’052 patent. Id.
10         2.     U.S. Patent No. 10,247,670
11         290. In addition to the above, the TF-I sensor includes all the features of at least
12   claim 1 of the ’670 Patent. Madisetti ¶ 283; JTX-1241. For example, the TF-I housing
13   has white surface. JTX-777. The TF-I drawing notes that the color of the material is
14                                                               Id. Diab explained that the
15   color was selected, in part, for its reflective properties. Diab ¶ 217. The TF-I white
16   surface has two openings, one for a light emitter and another opening for the detector.
17   Id.; JTX-777.    Thus, Masimo's TF-I sensor embodies every aspect of claim 1.
18   Madisetti ¶ 283. Lamego was exposed to that TF-I sensor during his work at Masimo
19   and Cercacor and through his interactions with Diab. Diab ¶ 208.
20         291. Furthermore, as Warren opined, all the limitations in the ’670 patent are
21   generally known concepts except for the “reflective layer” of claim 1 of the ’670 patent.
22   Madisetti ¶ 296; Warren ¶ 158. However,
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27   Madisetti ¶ 296. Thus, Masimo had possession of those concepts before Lamego. Id.
28   This shows that Diab should be added as an inventor of ’670 patent.

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1            3.    U.S. Patent No. 9,952,095
2            292. Diab is a named inventor on U.S. Patent No. 5,632,272 (“the ’272 patent”)
3    and he helped develop the concepts shown and described in this patent in the early 1990s.
4    JTX-1267 at -812; Diab ¶ 92. The ’272 patent was filed in 1994 and is based on work
5    Diab and his co-inventors did between approximately 1990 and 1994. Diab ¶ 92.
6            293. Figure 11 of the patent, shown below provides a very high-level overview
7    of how a pulse oximeter functions. JTX-1267 at -829 (FIG. 11), -867 (34:10-12); Diab
8    ¶ 93.
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     JTX-1267 at -829 (FIG. 11).
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22           294. On the left of Figure 11 is a dashed box 300, which represents the sensor.

23   Id. at -867 (34:10-20), -829 (FIG. 11); Diab ¶ 94. Within the sensor 300 are emitters

24   and a detector. JTX-1267 at -867 (34:10-20, 35:23-27); Diab ¶ 94. Specifically, the

25   sensor 300 includes a red emitter 301 such as a red LED and an infrared emitter 302

26   such as an infrared LED. JTX-1267 at -867 (34:10-20, 35:23-27); Diab ¶ 94. Those

27   emitters emit red and infrared light through the tissue (shown as a finger) 310. JTX-

28   1267 at -867 (34:10-20, 35:23-27); Diab ¶ 94. The red and infrared emitters are not left

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1    on all the time. JTX-1267 at -868 (36:6-16); Diab ¶ 94. Instead, the emitters are very
2    quickly turned on and off alternatively (e.g., red emitter on, red emitter off, infrared
3    emitter on, infrared emitter off) many times per second (e.g., 200 times per second).
4    JTX-1267 at -868 (36:6-16); Diab ¶ 94. As Figure 11 shows, the emitted light passes
5    through the tissue 310 and reaches the detector 320. JTX-1267 at -829 (FIG. 11);
6    Diab ¶ 94. The detector 320 converts the detected light into one analog electrical signal
7    representative of the intensity of all light that hits the detector. JTX-1267 at -867 (34:16-
8    20).
9           295. As shown in Figure 11, the detector 320 outputs the detected signal to the
10   front-end analog signal conditioning circuitry 330. JTX-1267 at -867 (34:19-20);
11   Diab ¶ 94.
12          296. Figure 12 provides a more detailed illustration of the signal conditioning
13   circuitry 330. JTX-1267 at -831 (FIG. 12), -868 (36:25-28); Diab ¶ 96.
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23          297. Starting on the left of Figure 12, the analog detected signal (“composite
24   signal”) is output to a pre-amplifier 342, which amplifies the entire signal by a small
25   amount. JTX-1267 at -831 (FIG. 12), -868 (36:31-46); Diab ¶ 97. To focus on the
26   relevant parts of the signal (i.e., the intensity of light at the red and infrared wavelengths
27   emitted by the sensor and then detected after passing through tissue), after pre-
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1    amplification, the signal is output to a high pass filter 344 to remove undesirable light
2    from the signal. JTX-1267 at -831 (FIG. 12), -868 (36:56-57); Diab ¶ 98.
3          298. Specifically, the high pass filter 344 allows signals of high frequency to
4    pass, but removes lower frequency signals from the signal. JTX-1267 at -831 (FIG. 12),
5    -868 (36:56-57); Diab ¶ 98. The high pass filter has a corner (or cutoff) frequency, and
6    removes signals that are below that frequency. Diab ¶ 98. In the ’272 patent, we
7    explained that a suitable corner (or cutoff) frequency for the high pass filter 344 could
8    be about 0.5 to 1 Hz. JTX-1267 at -868 (36:59-62); Diab ¶ 98. We also explained that
9    the corner frequency could be up to 90 Hz. JTX-1267 at -868 (36:59-62); Diab ¶ 98. In
10   this patent, we described that the red and infrared LEDs were turned on and off at a
11   frequency of 625 Hz. JTX-1267 at -868 (36:62-64); Diab ¶ 98. As such, the red and
12   infrared light emitters are modulated. JTX-1267, at -868 (36:6-23). Therefore, a high
13   pass filter that allows only signals greater than 1 Hz (or greater than 90 Hz) will pass the
14   red and infrared portions of the detected light signal while removing lower frequency
15   portions of the signal that are due to sources like ambient light. Diab ¶ 98.
16         299. Diab was the person at Masimo who came up with the concept of using a
17   filter to remove unwanted low frequency/high wavelength light intensity information
18   from the detected signal. Diab ¶ 99. Through our development efforts, we arrived at
19   using the high pass filter 344 to remove this low frequency information from the signal
20   because (1) it is not useful or needed for pulse oximetry, and (2) if it is not filtered out
21   the signal could exceed the maximum output of the amplifier. Id.
22         300. After the high pass filter 344, the resulting signal is output to a fixed
23   amplifier 346 and then a programmable-gain amplifier 348, as shown in Figure 12
24   above. JTX-1267 at -831 (FIG. 12), -868 (36:64-65), -869 (37:5-7); Diab ¶ 100. The
25   programmable-gain amplifier 348 is programmable and can therefore be adjusted based
26   on the specific needs of the device. JTX-1267 at -868 (37:9-16); Diab ¶ 97.
27         301. These emitters are also described in paragraph 99 and Figures 30A through
28   H of the ’924 publication. JTX-1206 at -650 ([0099]), -622-23 (FIGS. 30A-H). The

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1    ’924 publication also discloses a detector that detects or obtains emitted light after
2    attenuation by the body tissue. Id. at -650 ([0100], [0101]).
3          302. Masimo had already conceived of every limitation of the elements of Claim
4    17 of the ’095 patent long before Lamego left for Apple. Madisetti ¶ 305; JTX-1268.
5    Lamego’s later filing of patent applications at Apple reflects his earlier work at Masimo
6    rather than anything he developed at Apple. Id.
7          303. Diab worked on the above-mentioned technology either alone or with
8    Lamego over several years at Masimo and Cercacor, and they developed the technology
9    while they were employees of Masimo and Cercacor. Id. at ¶ 306. Masimo should be
10   added to the list of assignees for the ’095 and the ’390 patents, and Diab should be added
11   as an inventor to the ’095 and the ’390 patents to the extent that these patents are valid.
12   Id.
13         4.     U.S. Patent No. 11,009,390
14         304. As the facts above show, Masimo’s publications disclose two emitters are
15   described in paragraph 99 and Figures 30A through H of the ’924 publication and at
16   35:23-27 and 36:6-12 of the ’272 patent. JTX-1206 at -650 ([0099]); JTX-1267 at -867
17   (35:23-27), -868 (36:6-12). They also disclose that the emitters are modulated to
18   transmit light to a subject through an aperture. They also disclose a detector that detects
19   or obtains emitted light after attenuation by the body tissue. JTX-1267 at -829 (FIG.
20   11), -867 (34:10-20, 35:23-27); Diab ¶ 94; JTX-1206 at -650 ([0099], [0101]); -604 (FIG.
21   9). They also disclose a sensor for receiving light from the measurement cite. JTX-
22   1206 at -650 ([0099], [0101]); JTX-1267 at -829 (FIG. 11), -867 (34:10-20); Diab ¶ 94.
23   They also disclose a high pass filter to filter out frequency below up to 90 Hz. JTX-
24   1267 at -831 (FIG. 12), -868 (36:56-64); Diab ¶ 98; JTX-1206 at -650-51 ([0107]), -637
25   (FIG. 40). That frequency is higher than the normal range of pulse rates in humans (as
26   modulated). JTX-1267 at -868 (36:6-16); Diab ¶¶ 96-99; Poeze ¶ 37. Finally, they
27   disclose an analog to digital converter. JTX-1267 at -869 (37:41-44); JTX-1206 at -604
28   (FIG. 9), -647 ([0070]), -651 ([0108]).

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8    K.    Before late 2019, Masimo Had No Reason To Believe That Apple
9          Misappropriated Its Trade Secrets
10         313. After arriving at Apple, O’Reilly “repeatedly told [Kiani] that Apple had
11   no interest in pulse oximetry and that there was no competitive concern in that area.”
12   Kiani ¶ 184. He reassured Kiani with continued dialogue and friendship over the years.
13   Id. ¶¶ 184-186. Kiani believed O’Reilly based on his long and trusting friendship.
14   Id. ¶¶ 178-180; JTX-2824.
15         314. Lamego also personally assured Masimo that he would not be involved in
16   competitive technology at Apple. Kiani told Lamego it was important Lamego not use
17   trade secrets he had learned at Masimo at Apple. Kiani ¶ 206. Lamego “insisted” that
18   he would never use Masimo’s trade secrets and promised “he would be working in areas
19   at Apple completely unrelated to his work at Cercacor or Masimo.” Id. He personally
20   assured Kiani that “if Apple asked him to do anything that would compete with us, he
21   would quit his job there immediately” because “competing with Masimo and Cercacor
22   at Apple would not fit his ethics and he would never do so.” Id. Kiani believed Lamego.
23   Id. at ¶¶ 206-07. Apple was “a very large company, with many products to work on” so
24   it made sense that he would be working in an unrelated field at Apple. Id. It also made
25   sense because the first time Lamego left Masimo to go to Brazil, he worked on a
26   consulting job unrelated to his work at Masimo. Id. ¶ 207.
27         315. Cercacor’s CFO, Gerry Hammarth, conducted Lamego’s exit interview.
28   Hammarth ¶¶ 37-38. Hammarth also reminded Lamego of his obligations to maintain

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1    confidentiality of Cercacor’s trade secrets and confidential business information.
2    Id. at ¶ 38.
3           316. After Lamego went to Apple, Kiani directed that a letter be sent notifying
4    Apple of Lamego’s obligations under his Employee Confidentiality Agreements. Kiani
5    ¶¶ 209-211; JTX-2937.
6           317. Cristiano Dalvi, a friend of Lamego and former Cercacor employee, later
7    confirmed Lamego’s representations to Kiani. In particular, after Lamego left in July
8    2014, Kiani spoke to Dalvi, who told him that “Lamego left Apple because they had
9    asked him to do something that would compete with us, and he did not want to do that
10   because it was not consistent with his character.” Kiani ¶ 212. Kiani believed Dalvi and
11   it was “consistent with what Lamego had told [Kiani] when he left.” Id.
12   L.     Masimo Discovers Apple’s Misappropriation In Late 2019
13          318. Masimo first learned of Apple’s misappropriation in October 2019 when it
14   saw patents issued to Apple naming Lamego as the inventor. Kiani ¶ 221. As Kiani
15   explained, the patents “covered technology that had been developed at Masimo and
16   Cercacor, specifically things that were documents in our notebooks and worked on by
17   individuals like Mohamed Diab and Jeroen Poeze.” Id. Kiani thus authorized an
18   investigation and Masimo and Cercacor brought this case about three months later in
19   January 2020. Id. ¶ 222.
20          319.    Masimo did not know or have reason to suspect Apple misappropriated
21   any asserted trade secret before January 2017 (three years before suit). Masimo took
22   extensive efforts to protect its trade secrets, including having employees like Lamego
23   and O’Reilly sign confidentiality agreements. See supra § III.B (and evidence cited
24   therein). Kiani trusted O’Reilly and Lamego’s representations that they would not
25   misuse Masimo’s trade secrets, Apple had no interest in pulse oximetry, and they were
26   not working on competing technology. Kiani ¶¶ 178-186, 202-207. When Lamego left,
27   Dalvi confirmed Lamego’s representation by explaining that Lamego left as soon as
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1    Apple suggested that he work on competing technology. Id. ¶ 212. Kiani believed
2    Dalvi. Id.
3          320. A reasonable investigation would not have revealed Apple misappropriated
4    L4 more than three years before suit. The facts showing misappropriation are contained
5    in internal Apple documents (see supra §§ G and I above) that were not available
6    pursuant to a reasonable investigation at any time.
7                                                                               See Madisetti
8    ¶ 102; JTX-1064.
9                       (Madisetti ¶¶ 103-113). The earliest Masimo could have learned that
10                                                                  is September 2018 when
11   Apple released the Series 4 watch. Even if Masimo had learned that Apple
12
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14         321. A reasonable investigation before 2017 also would not have revealed Apple
15   misappropriated L5. Masimo did not learn Apple misappropriated L5 until discovery.
16   No evidence suggests that Masimo could have learned that Apple
17                                                                              Masimo also
18   could not have learned that the                           were identified to Apple by
19   Marcelo Lamego before obtaining discovery. Thus, Masimo could not have learned that
20   Apple misappropriated L5 until it had access to Apple’s internal documents.
21         322. A reasonable investigation before 2017 also would not have revealed Apple
22   misappropriated D1, D3, or D10. Masimo first learned Apple misappropriated D1, D3,
23   and D10
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25                             Thus, a reasonable investigation would not have revealed facts
26   sufficient to bring suit as to D1, D3, or D10
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1     M.    Apple’s Misappropriation Causes Harm to Masimo and Legal Remedies Do
2           Not Address Apple’s Ongoing and Future Misappropriation
3           323. Masimo faces an ongoing threat that Apple will use, disclose, and destroy
4     its trade secrets. Apple disclosed D1, D3, and D10
5                                                  Madisetti ¶¶ 192-193, 215, 219;
6     Apple disclosed L5                            . Madisetti ¶¶ 142-149; JTX-541 at 581-
7     582; JTX-1156 at 527; Land ¶ 65. Masimo risks further disclosure as Apple has shown
8     no regard for Masimo’s trade secrets. Masimo also risks further disclosure as Apple
9     continues to work with
10
11          324. Apple has also maintained possession of Masimo’s
12                                                                                    Madisetti
13    ¶¶ 186-194, 212-216, 250-252; JTX-143 at -568; JTX-154 at -673-74; JTX-161 at -721;
14    JTX-162 at -416; JTX-853; JTX-855 at -353; JTX-852 at -571; JTX-851 at -415;
15         JTX-153 at 843; JTX-273 at 369; JTX-847; JTX-880.
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17                                JTX-153 at -843; JTX-273 at -369; Madisetti ¶ 194; Kanaris
18    Tr. at 7:21-8:2, 8:13-9:14, 10:15-11:3, 12:20-13:2, 14:1-3, 14:12-13, 15:2-3, 15:5-9,
19    18:17-19, 18:21-19:2, 19:4-10, 22:22-23:3, 23:11-17, 24:3-19, 24:21-22, 25:2-11,
20    26:22-27:4, 27:19-28:7, 29:10-30:9, 30:14-18, 30:20-31:3, 31:5-12, 37:4-38:8, 40:1-3,
21    40:5-5, 41:4-6, 41:8-8, 48:1-5, 48:8-48:17, 55:4-16. Masimo faces a great risk that, after
22    this case, Apple will implement               that Lamego provided in the Apple Watch.
23    Kiani ¶ 137. This would mean Masimo would have to compete against a product that
24    uses Masimo’s trade secrets. Id.
25          325. Apple owns                                                . Madisetti ¶¶ 192-
26    193, 215, 219;             Masimo would be harmed if Apple
27
28                                                     Masimo would be further harmed if other

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1     Masimo engineers believed they could disclose trade secrets with impunity to future
2     employers and to the public in patents.
3           326. Apple’s continued use of Masimo’s trade secrets, and potential future use
4     of D1, D3, and D10 in an Apple Watch,
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7           327. Masimo also experienced a reduction in demand for its technology when
8     Apple introduced the blood oxygen feature in the Apple Watch. Kiani ¶¶ 217-218.
9     Masimo’s future sales of Freedom watches and wrist-worn sensor modules are likely to
10    be impacted by any future sales of Apple Watches with the blood oxygen feature, which
11    benefits from Masimo’s trade secrets. Kiani ¶¶ 120-125; Muhsin ¶ 66.
12          328. Masimo and Willow engineers need to be able to share their ideas freely
13    with each other in order to collaborate to solve the most difficult problems in
14    noninvasive patient monitoring. Kiani ¶ 222; Diab ¶¶ 51-53. Masimo and Willow
15    depend on strong trade secret protection to give their engineers confidence to share
16    information with each other, knowing that whatever they share will remain within the
17    company and not end up with a competitor. Kiani ¶¶ 223-224; Diab ¶¶ 51-53, 71-76.
18          329. Allowing Apple to continue misappropriating Masimo’s trade secrets
19    undermines Masimo’s engineers’ ability to collaborate in confidence. This would cause
20    a chilling effect on the free sharing of ideas within Masimo. Kiani ¶ 222; Diab ¶ 51-53,
21    76.
22          330. Masimo depends on strong trade secret protection to maintain its
23    competitive technical advantage. Kiani ¶ 126; Diab ¶¶ 71-76, 157, 178, 219, 228, 238-
24    242, 249.
25          331. Masimo places significant value on the trade secrets in this case because
26    they provide a competitive advantage. Kiani ¶¶ 72-76, 137-147; Diab ¶¶ 157, 175-178,
27    218-219, 228, 238-249. If Masimo’s competitors were allowed to use Masimo’s L4, L5,
28    D1, D3, or D10 trade secrets, then Masimo’s competitive advantage would be seriously

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1     harmed. Kiani ¶ 137 (D1, D3, D10), Diab ¶¶ 157, 170, 173, 175, 238 (D1, D3, D10);
2     Kiani ¶ 140-143 (L4), Diab ¶¶ 218-219, 239-241 (L4); Diab ¶¶ 228, 239-240, 242, 249
3     (L5).
4             332. The evidence established that Masimo’s trade secrets were discovered after
5     extensive research, brainstorming, experimentation and testing, repeated trial and error,
6     and years of collecting physiological data on thousands of patients to one Masimo
7     algorithms. These efforts occurred over the course of more than a decade while Masimo
8     invested over                                      in research and development.     These
9     discoveries resulted in various new technological products that no other company has
10    replicated, even after more than ten years. Kiani ¶ 139; Diab ¶¶ 121, 136, 183, 185, 238-
11    241.
12            333. This Court finds that it would be highly improbable that any engineer or
13    group of engineers would be able to recreate any of Masimo’s trade secrets, much less
14    many or all of them together. Kiani ¶¶ 135-136; Diab ¶¶ 220-223, 226-227, 233-237.
15            334. The Court finds that Masimo has shown by a preponderance of the evidence
16    that Apple’s misappropriation harmed Masimo. If Apple were allowed to continue to
17    misappropriate Masimo’s trade secrets, Masimo would be irreparably harmed.
18    N.      Additional Equitable Factors Support an Injunction
19            335. Masimo would suffer extreme hardship if it could not protect its trade
20    secrets with injunctive relief.
21            336. Masimo depends on strong trade secret protection to maintain its
22    competitive technical advantage. Kiani ¶ 126; Diab ¶¶ 71-76, 157, 178, 219, 228, 238-
23    242, 249.
24            337. If Masimo’s competitors were allowed to use Masimo’s L4, L5, D1, D3, or
25    D10 trade secrets, then Masimo’s competitive advantage would be seriously harmed and
26    cause Masimo a hardship. Kiani ¶ 137 (D1, D3, D10), Diab ¶¶ 157, 170, 173, 175, 238
27    (D1, D3, D10); Kiani ¶¶ 140-143 (L4), Diab ¶¶ 218-219, 239-241 (L4); Diab ¶¶ 228,
28    239-240, 242, 249 (L5).

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1           338. Apple earned significant profits attributable to the blood oxygen feature on
2     the Series 6 and 7 Watches. Kinrich ¶¶ 72, Tables 17 and 18; Webster ¶¶ 24-55, Table 2.
3     Masimo would suffer extreme hardship if forced to compete against Apple who earned
4     significant profits by misappropriating Masimo’s trade secrets.
5           339. Apple has identified no hardship it would suffer if it were enjoined from
6     further misappropriation.
7           340. The public has a strong interest in the enforcement of trade secret rights.
8           341. The public has a strong interest in protecting trade secret rights so that
9     engineers and innovators can collaborate without concern that their trade secrets will be
10    taken to competitors. Kiani ¶¶ 223-225.
11          342. The public has a strong interest in encouraging innovative medical device
12    companies, like Masimo, to invest in technology that saves lives and money. Masimo’s
13    trade secrets helped Masimo to develop technologies including Masimo SET and
14    Rainbow, are used by approximately 200 million patients annually and have saved many
15    lives and decreased the cost of effective patient care. Kiani ¶ 89; Muhsin ¶ 40; Muhsin
16    ¶¶ 38-40; JTX-2801. Masimo SET technology alone has saved thousands of lives and
17    billions of dollars in healthcare costs. Kiani ¶ 53; Diab ¶ 48; JTX-2783. The superior
18    performance of Masimo SET technology has been confirmed by over 100 studies, and
19    Masimo SET improves patient care by allowing clinicians to accurately measure oxygen
20    saturation through motion and low perfusion. Kiani ¶¶ 72-76; Diab ¶¶ 66-70. Masimo
21    SET technology has been used to virtually eliminate retinopathy of prematurity in
22    premature babies, which was previously causing blindness in thousands of babies per
23    year. Kiani ¶¶ 46, 77; Diab ¶¶ 40-41. Masimo SET has also been used virtually
24    eliminate the missed detection of critical congenital heart defects in infants, which can
25    be fatal if left untreated. Kiani ¶ 78. Masimo SET has further been used to eliminate
26    preventable deaths due to opioid overdose and helped to reduce COVID-19 mortality by
27    over 70 percent. Kiani ¶¶ 79-80, 108-109; Muhsin ¶¶ 44-46. Masimo’s Rainbow
28    technology has saved many lives by allowing clinicians to accurately and noninvasively

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1     monitor more physiological parameters and thereby detect even more health condition,
2     including carbon monoxide poisoning, methemoglobinemia, and internal bleeding.
3     Kiani ¶¶ 60-71; Diab ¶¶ 54-65.          Masimo’s Rainbow technology also allows
4     noninvasively measuring total hemoglobin, which has been used to reduce post-surgical
5     mortality by over 30 percent. Kiani ¶¶ 63-64; Diab ¶ 57.
6           343. False alarms in pulse oximetry measurements lead to distrust in the
7     measurement and desensitize users to true alarms. Kiani ¶ 18.
8           344. The blood oxygen feature in the Apple Watch does not have FDA clearance
9     and Apple did not seek FDA clearance. Caldbeck ¶ 21.
10          345. The blood oxygen feature in the Apple Watch is not medical grade and does
11    now work in many use cases. Dua Tr. at 16-19.
12          346. Evidence shows that the blood oxygen feature in the Apple Watch detected
13    only 6 percent of true desaturation events, and when it did so, its accuracy was only 4.5
14    percent. Kiani ¶ 219; JTX-5178.
15          347. The public does not have a strong interest in permitting Apple’s continued
16    misappropriation, when Apple uses Masimo’s trade secrets to offer a blood oxygen
17    feature that is not medical grade, does not comprehensively detect desaturation events,
18    provides false alarms, burdens the medical system, and prevents other patients who need
19    medical resources from accessing them.
20          348. The Court should find that Apple should not be allowed to continue
21    misappropriating trade secrets it obtained from Lamego.
22    O.    Apple’s Misappropriation Unjustly Enriched Apple
23          349. Apple’s misappropriation benefited Apple. As explained below, each trade
24    secret helped
25                                                                                  JTX-1078
26    at -632.
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1           350. L4                                                   .   Diab ¶¶ 181-186;
2     Madisetti ¶¶ 83-85. L5
3            Dalke ¶¶ 55-87; Madisetti ¶¶ 130-137.
4                  Apple used L4
5     Madisetti ¶¶ 102-113; JTX-1064 at -859. Based on L4,
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12          352. Apple identified L5
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16                 Diab established that D1, D3, and D10
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23          354.
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25          355. Apple first launched the blood oxygen feature in the Series 6 Apple Watch,
26    on September 18, 2020.      Kinrich ¶ 6; JTX-5166; JTX-5167; JTX-1769.            Apple
27    discontinued the Series 5 (which did not include the blood oxygen feature) on September
28    15, 2020, three days before Apple launched the Series 6. Kinrich ¶ 20; JTX-5055.

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1           356. Apple’s sales and profits on Series 6 and 7 Watches that include the blood
2     oxygen feature, while Apple was simultaneously selling the Series SE Watch that did
3     not include the blood oxygen feature demonstrates Apple was unjustly enriched from
4     misappropriating Masimo’s trade secrets. Kinrich ¶¶ 12, 15-19. Apple Watch SE was
5     specifically developed to be a more economic model that Series 6, in order to appeal to
6     a wider range of consumers. Caldbeck ¶ 25; Webster ¶ 28. Evidence from these
7     simultaneous sales show customers were willing to pay a premium for the Series 6 and
8     7 over Series SE, to obtain certain features in the Series 6 and 7 that were not available
9     in the Series SE. Kinrich ¶¶ 12, 15-19. Basic economic theory dictates that price of a
10    product is a driver of both demand and sales. Webster ¶ 28.
11          357. Apple sold millions of units of the Series 6 and Series 7. Kinrich ¶ 24;
12    Kinrich Table 3; JTX-1754; JTX-1755; JTX-278; JTX-1413; JTX-349; Webster ¶ 53,
13    Table 2; JTX-4201.1; JTX-4202.1; JTX-4688; JTX-4691.
14          358. Apple earned additional profits on Series 6 and 7 watches that included the
15    blood oxygen feature compared to simultaneously sold Series SE watches that did not
16    include the blood oxygen feature. Kinrich ¶¶ 12, 15-19. The incremental profits are
17    attributable to the features of the Series 6 and 7 Watches that were not present in the
18    Series SE. Id.
19          359. When Apple launched the Series 6 Watch, Apple highly promoted the
20    blood oxygen feature. Kinrich ¶ 43-45; JTX-1351; JTX-1353; JTX-3176.
21          360. Apple’s New Product Security team used the phrase “crown jewel” to refer
22    to the Blood Oxygen App before it was released. Caldbeck ¶ 35.
23          361. The Apple Series 6 launch video prominently features the blood oxygen
24    feature. Kinrich ¶ 43; JTX-1351.
25          362. Apple also showcased the blood oxygen feature on its website. Kinrich
26    ¶ 44-46; JTX-1353. Apple relied on the blood oxygen feature to declare “The future of
27    health is on your wrist,” and “Blood Oxygen, A breath of fresh innovation.” Kinrich
28    ¶ 44-45; JTX-1353 at 856-57.

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1           363. When Apple launched the blood oxygen feature, the New York Times
2     reported that “The new Apple Watch can be summed up in two words: blood oxygen.
3     The ability to measure your blood’s oxygen saturation – an overall indicator of wellness
4     – is the most significant new feature in the Apple Watch Series 6.” Kinrich ¶ 47; JTX-
5     5184. This article was a strong indication of the importance of the blood oxygen feature
6     relative to other features on the watch. Kinrich ¶ 47.
7           364. Before Apple incorporated the blood oxygen feature in the Series 6 Watch,
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11    Kinrich ¶ 48-52; JTX-5118 at 662.
12          365. When Apple launched the Series 6 watch with the blood oxygen feature,
13    Apple promoted just three differences between the Series 6 and Series SE: (1) blood
14    oxygen, (2) ECG, and (3) always-on display. Kinrich ¶ 54; JTX-1353 at 873. Apple
15    identified only these three feature differences on Apple’s watch comparison website,
16    where Apple helped buyers decide “Which Apple Watch is right for you?” Id. The
17    profit differential between the Series 6 and the Series SE is attributable to these feature
18    differences. Kinrich ¶ 55.
19          366.
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21                                                                                Kinrich ¶ 64;
22    JTX-367C at -664; JTX-4194 at -529; JTX-5041 at -529; JTX-4195 at -340; JTX-5044
23    at -340; JTX-4196 at -928; JTX-5042 at -928; JTX-4197 at –766, -776; JTX-5045 at -
24    766, -776; JTX-4198 at -134; JTX-5043 at -134; JTX-5027 at -091; JTX-5028 at -311;
25    Jue Tr. at 15, 53-56, 172, 234-36, 239, 241, 256-58.
26          367.
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12          381.
13                                                                  Williams Tr. at 60:1-4.
14          382. Dr. Michael O’Reilly warned Apple that all of Lamego’s relevant
15    information was likely proprietary to Masimo. O’Reilly Tr. at 315:9-316:5, 316:9-17;
16    JTX-512.
17          383. In addition, Apple assured Masimo it was not working on blood oxygen.
18    Kiani ¶¶ 182, 184, 212. Apple also did not respond to Masimo’s letter after they hired
19    Lamego dissuading them from misusing Masimo’s intellectual property through
20    Lamego. Id. at ¶ 211; JTX-2937. Moreover, Apple hid its misappropriation of D1, D3,
21    and D10 by
22                 Finally, Apple’s misappropriation has continued after Masimo filed suit.
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1                         IV. PROPOSED CONCLUSIONS OF LAW
2     A.    Jurisdiction and Venue
3           1.       This Court has subject matter jurisdiction over this action pursuant to
4     28 U.S.C. § 1331 and § 1338(a) because the Patent Infringement claims arise under
5     federal patent laws, 35 U.S.C. §§ 271 and 281, because the Correction of Inventorship
6     claims arise under federal patent law, 35 U.S.C. § 256, and under the Declaratory
7     Judgement Act, 28 U.S.C. §§ 2201 and 2202.
8           2.       The Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a),
9     over Masimo’s state law claims for misappropriation of trade secrets under the
10    California Uniform Trade Secrets Act, Cal. Civ. Code § 3426, and for ownership of
11    patent and patent application claims. Masimo’s state law claims are related to the patent
12    infringement and correction of inventorship claims such that that they form part of the
13    same case or controversy under Article III of the United States Constitution.
14          3.       This Court has personal jurisdiction over Apple and venue is proper in this
15    Court pursuant to 28 U.S.C. §§ 1391(b) and 1400(b) because a substantial part of the
16    events giving rise to the parties’ dispute arose in this judicial district. The parties agree
17    that the facts requisite to federal jurisdiction and venue are admitted
18    B.    Apple’s Violation of the California Uniform Trade Secrets Act
19          1.       Legal Standard
20          4.       Masimo will prove the following elements, by a preponderance of the
21    evidence, for each of Trade Secrets L4, L5, D1, D3, and D10 (“Asserted Trade
22    Secret(s)”):
23          a.       Masimo and/or Willow developed or otherwise lawfully possessed the
24                   Asserted Trade Secret;
25          b.       At the time of misappropriation, the Asserted Trade Secret derived actual
26                   or potential independent economic value from not being generally known
27                   to the public or to other persons who can obtain economic value from its
28                   disclosure or use, and was the subject of efforts that are reasonable under

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1                  the circumstances to maintain its secrecy;
2           c.     Apple improperly acquired, used, or disclosed the Asserted Trade Secret.
3     Dkt. 1715 (instruction 19); Cal. Civ. Code § 3426.1; Sargent Fletcher, Inc. v. Able Corp.,
4     110 Cal. App. 4th 1658, 1667, 3 Cal. Rptr. 3d 279, 284 (2003).
5           5.     “The [generally known] inquiry is not whether the alleged trade secret has
6     been publicly disclosed at all, but whether it has become ‘generally known to the
7     relevant people, i.e., potential competitors or other persons to whom the information
8     would have some economic value[.]’” Kittrich Corp. v. Chilewich Sultan, LLC, 2013
9     WL 12131376, at *4 (C.D. Cal. Feb. 20, 2013) (quoting DVD Copy Control Ass’n, Inc.
10    v. Bunner, 116 Cal. 4th 241, 251 (2004)).
11          6.     Finding aspects of the trade secret across various publications and applying
12    a patent-like obviousness analysis does not render the trade secret generally known
13    under CUTSA. See Imi-Tech Corp. v. Gagliani, 691 F. Supp. 214, 231 (S.D. Cal. 1986)
14    (“The defendants’ attempts to show that Imi-Tech’s alleged trade secrets were known in
15    the prior art also fail to provide a defense for the defendants, since it is not required that
16    a trade secret be patentably nonobvious or novel.”).          “‘[O]bviousness’ is not the
17    benchmark” in a trade secrets action. Am. Can Co. v. Mansukhani, 728 F.2d 818, 819
18    (7th Cir. 1982). Whether a person could alter a patent to be the same as a trade secret
19    does not show that the trade secret is generally known. Id.
20          7.     “[W]hether information is ‘readily ascertainable’ is not part of the
21    definition of a trade secret in California.” Imax Corp. v. Cinema Techs., Inc., 152 F.3d
22    1161, 1168 n.10 (9th Cir. 1998). Instead, under the CUTSA, ready ascertainability is a
23    defense that “will be based upon an absence of misappropriation, rather than the absence
24    of a trade secret.” ABBA Rubber Co. v. Seaquist, 235 Cal. App. 3d 1, 21 n.9 (1991).
25    Under CUTSA, ready ascertainability is only a defense insofar as the defendant actually
26    gained knowledge of the trade secret by use of those materials which make the trade
27    secret readily ascertainable. See Imax, 152 F.3d at 1168 n.10; Medtronic MiniMed, Inc.
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1     v. Nova Biomedical Corp., 2009 WL 10672947, at *1 (C.D. Cal. Aug. 14, 2009); see
2     also Dkt. 257 at 12-13; Dkt. 424 at 7 n.1.
3           8.     Defendants are liable for trade secret misappropriation by acquisition if
4     they knew or had reason to know that the trade secret was acquired by improper means.
5     Cal. Civ. Code § 3426.1(b)(1).
6           9.     Defendants are liable for trade secret misappropriation by disclosure or use
7     if they use or disclose a trade secret that they used improper means to acquire. Id.
8     § 3426.1(b)(2)(A). Defendants are also liable for trade secret misappropriation by
9     disclosure or use if, at the time of disclosure or use, they knew or had reason to know
10    that their knowledge of the trade secret was: (i) Derived from or through a person who
11    had utilized improper means to acquire it; (ii) Acquired under circumstances giving rise
12    to a duty to maintain its secrecy or limit its use; or (iii) Derived from or through a
13    person who owed a duty to the person seeking relief to maintain its secrecy or limit its
14    use. Cal. Civ. Code § 3426.1(b)(2)(B).
15          10.    California’s policy favoring employee mobility does not override trade
16    secret law. See The Ret. Grp. v. Galante, 176 Cal. App. 4th 1226, 1237 (Cal. Ct. App.
17    2009) (acknowledging California policy but finding that “[a]n equally lengthy line of
18    cases has consistently held former employees may not misappropriate the former
19    employer’s trade secrets to unfairly compete with the former employer.”). California’s
20    employee-mobility policy does not sanction misappropriation of trade secrets. Id.
21          11.    Further, if “willful and malicious misappropriation exists, the court may
22    award reasonable attorney’s fees and costs to the prevailing party. Recoverable costs
23    hereunder shall include a reasonable sum to cover the services of expert witnesses, who
24    are not regular employees of any party, actually incurred and reasonably necessary in
25    either, or both, preparation for trial or arbitration, or during trial or arbitration, of the
26    case by the prevailing party.” Cal. Civ. Code § 3426.4.
27          12.    Masimo does not need to show that an employee other than Lamego “knew
28    or should have known” of the misappropriation because Apple is also liable under

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1     respondeat superior. SolarCity Corp. v. Pure Solar Co., 2016 WL 11019989, at *5 (C.D.
2     Cal. Dec. 27, 2016); Navigation Holdings, LLC v. Molavi, 2020 WL 5074307, at *4;
3     Alert Enter., Inc. v. Rana, 2023 WL 2541353, at *3 (N.D. Cal. Mar. 16, 2023);
4     Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 755-56 (1998). Regardless, Lamego
5     knew or should have known he was disclosing and using Masimo’s trade secrets. See
6     Supra § III. D; JTX-769, JTX-810, JTX-1597 at -650-654, -664-670; Dalke ¶ 9; Kiani
7     ¶¶ 57, 126-134; JTX-672.
8           13.   Regardless, Masimo did present sufficient evidence for the jury to find an
9     employee other than Lamego knew or should have known. As discussed, Apple targeted
10    Masimo employees for their “specialized” knowledge. O’Reilly even warned Apple that
11    most of Lamego’s knowledge was confidential. JTX-605 at -010.
12          14.   Despite the warning, Apple hired Lamego.            Hotelling then assigned
13    Lamego to work on the same type of technology Lamego worked on at Cercacor. Within
14    one month of joining Apple,
15                     JTX-143.
16                                JTX-297 at -772.      Lamego also
17                                     JTX-610 at -075 (email). Sufficient evidence exists to
18    conclude that Apple employees other than Lamego, including Hotelling, knew or should
19    have known Lamego was disclosing Masimo’s trade secrets. Indeed, Hotelling knew
20    about O’Reilly’s warning,
21    O’Reilly also knew that Lamego’s information was confidential to Masimo.
22          2.    Apple Misappropriated Several Masimo Trade Secrets
23                a.      Masimo’s Asserted Trade Secrets Are Trade Secrets Under
24                        CUTSA
25                        i.      Masimo’s Trade Secrets Were Subject to Reasonable
26                                Efforts to Maintain their Secrecy
27          15.   Masimo presented evidence that it took reasonable efforts to maintain the
28    secrecy of trade secrets D1, D3, D10, L4, L5, (“asserted trade secrets”). Kiani, Diab,

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1     Muhsin, Dalke, Poeze, Scruggs, Madisetti, Miller, and Hammarth testified about the
2     steps Masimo took to keep the asserted trade secrets confidential and proprietary to
3     Masimo and Cercacor. Kiani ¶¶ 69, 127-31, 156; Muhsin ¶¶ 8-29, 32-34; Miller ¶¶ 5-
4     15; Hammarth ¶¶ 10-26, 37; Diab ¶¶ 71-77, 219, 228, 239-42; Scruggs ¶ 14; Dalke ¶¶
5     7-9; Poeze ¶¶ 9-15; Madisetti ¶¶ 163, 195, 209, 217; JTX-769; JTX-811; JTX-827; JTX-
6     828; JTX-832; JTX-935–JTX-937; JTX-1309; JTX-1677; JTX-2217; JTX-2323; JTX-
7     2263; JTX-2266; JTX-2388; JTX-2403; JTX-2514; JTX-2556; JTX-2561; JTX-2563;
8     JTX-2564; JTX-2974; JTX-2981.1.
9                       ii.    Masimo Possessed Trade Secret L4, Which Obtains
10                             Economic Value From Not Being Generally Known To
11                             Others Who Could Obtain Value From Its Use
12          16.   Diab and Scruggs explained that Masimo possessed, and exposed Lamego
13    to, the information captured by the words of L4. Diab ¶¶ 179-217, 230; Scruggs ¶¶ 6-
14    13; Hammarth ¶ 28; JTX-173; JTX-343; JTX-777; JTX-782; JTX-881; JTX-935 – JTX-
15    941; JTX-1016; JTX-1022; JTX-1045; JTX-1227; JTX-1906; JTX-P-0005; JTX-P-
16    0005p; JTX-P-0161; JTX-P-0161p; JTX-P-0162; JTX-P-162p. Dr. Madisetti explained
17    his analysis showing that Masimo developed and uses L4. Madisetti ¶¶ 83-94.
18          17.   Kiani, Diab, and Madisetti explained the independent economic value that
19    Masimo and Cercacor obtained from this trade secret not being generally known to the
20    public or to other persons who can obtain economic value from its disclosure or use.
21    Diab ¶¶ 218-19, 239-41; Madisetti ¶¶ 115-127; Kiani ¶¶ 138-147.
22                      iii.   Masimo Possessed Trade Secret L5, Obtains Economic
23                             Value From Not Being Generally Known To Others Who
24                             Could Obtain Value From Its Use
25          18.   Diab and Dalke explained that Masimo possessed, and exposed Lamego to,
26    the information captured by the words of L5. Diab ¶¶ 73, 76, 220-228, 239-40, 242-
27    249; Dalke ¶¶ 7, 9-17, 21, 24-79, 82-85; JTX-702, 703, 704, 827, 1082.1, 1082.2, 1086,
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1     1091, 1644, 1951, JTX-P-0135. Dr. Madisetti explained his analysis showing that
2     Masimo developed and uses L5. Madisetti ¶¶ 130-137, 163.
3           19.   Diab, Dalke, and Madisetti explained the independent economic value that
4     Masimo and Cercacor obtained from this trade secret not being generally known to the
5     public or to other persons who can obtain economic value from its disclosure or use.
6     Diab ¶¶ 228, 239-40, 242; Dalke ¶¶ 60, 67, 82; Madisetti ¶¶ 162-170; JTX-541; see also
7     Zheng Tr. at 52-57:8-15, 68:12-22.
8                        iv.   Masimo Possessed Trade Secret D1, Obtains Economic
9                              Value From Not Being Generally Known To Others Who
10                             Could Obtain Value From Its Use
11          20.   Diab, Poeze, and Dalke explained that Masimo possessed, and exposed
12    Lamego to, the information captured by the words of D1. Diab ¶¶ 73, 76, 121-26, 129-
13    37, 146-52, 155-57, 159, 168-74, 178, 238; Poeze ¶¶ 9-15, 18-29, 40, 44-55, 61-62, 66-
14    67; Dalke ¶¶ 15, 30-32, 51; JTX-341, 677, 784, 798, 811, 827, 828, 831, 832, 1912. Dr.
15    Madisetti explained his analysis showing that Masimo developed and possessed D1.
16    Madisetti ¶¶ 174-85.
17          21.   Diab and Madisetti explained the independent economic value that Masimo
18    and Cercacor obtained from trade secret D1 not being generally known to the public or
19    to other persons who can obtain economic value from its disclosure or use. Diab ¶¶ 157,
20    174-178, 238; Madisetti ¶¶ 195-204; JTX-153, 273, 828.
21                       v.    Masimo Possessed Trade Secret D3, Obtains Economic
22                             Value From Not Being Generally Known To Others Who
23                             Could Obtain Value From Its Use
24          22.   Diab and Poeze explained that Masimo possessed, and exposed Lamego to,
25    the information captured by the words of D3. Diab ¶¶ 76, 126, 131-37, 153-59, 167-74;
26    Poeze ¶¶ 16-18, 21-39, 66-68; JTX-798, 811, 827, 828, 831, 832, 784. Dr. Madisetti
27    explained his analysis showing that Masimo developed and possessed D3. Madisetti ¶¶
28    208-11.

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1           23.   Diab, Poeze, and Madisetti explained the independent economic value that
2     Masimo and Cercacor obtained from trade secret D3 not being generally known to the
3     public or to other persons who can obtain economic value from its disclosure or use.
4     Diab ¶¶ 73, 153-55, 238; Poeze ¶¶ 21, 32-36, 65; Madisetti ¶¶ 217-18, 220-26; see also
5     2022-08-12 Kanaris Tr. at 29:10-30:6, 37:12-38:13, 39:13-40:5, 48:8-49:20.
6                       vi.     Masimo Possessed Trade Secret D10, Obtains Economic
7                               Value From Not Being Generally Known To Others Who
8                               Could Obtain Value From Its Use
9           24.   Poeze explained that Masimo possessed, and exposed Lamego to, the
10    information captured by the words of D10. Poeze ¶¶ 9-15, 21, 39, 40-56, 65-66, 71-72,
11    230, 236; JTX-798, 811, 827, 828, 831, 832, 784, 1207. Dr. Madisetti explained his
12    analysis showing that Masimo developed and possessed D10. Madisetti ¶¶ 230-49.
13          25.   Madisetti explained the independent economic value that Masimo and
14    Cercacor obtained from trade secret D10 not being generally known to the public or to
15    other persons who can obtain economic value from its disclosure or use. Madisetti ¶¶
16    253-257.
17                b.    Apple Misappropriated Every Asserted Trade Secret
18                      i.      Lamego Had Access to the Asserted Trade Secrets
19          26.   Diab, Muhsin, Hammarth, and Kiani explained that Lamego had virtually
20    unfettered access to Masimo’s confidential information, including the asserted trade
21    secrets. Diab ¶¶ 138-42; Muhsin 31-37; Kiani ¶¶ 153-58; Hammarth ¶ 24-26, 28; JTX-
22    2354, 2556, 2560, 2565.
23                      ii.     Apple Acquired Masimo’s Trade Secrets Through
24                              Improper Means And Knew Or Should Have Known
25                              That Lamego Improperly Provided Masimo’s Trade
26                              Secrets
27          27.   Kiani testified about Apple’s knowledge of the confidentiality obligations
28    of Masimo employees and about Apple’s desire to acquire Masimo’s technology. Kiani

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1     ¶¶ 166-76, 178-82, 183, 187-88, 190, 192, 202, 209-11; JTX-559, 771, 768, 2353, 2937,
2     3997. Apple witnesses provided evidentiary support, including through testimony and
3     documents, for Masimo’s claim that Apple (a) acquired Masimo’s trade secrets through
4     improper means, (b) used and disclosed the trade secrets it acquired through improper
5     means, and (c) used and disclosed trade secrets it knew or should have known were
6     obtained through Lamego. 2021-12-15 Sellers Tr. 26:13-27:2; 92:22-93:17; 132:5-12,
7     257:13-22; JTX-70, 263, 265, 295, 314, 316, 337, 393-95, 556, 652, 655, 657, 659, 664,
8     668, 1719, 1720; Defendant Apple Inc.’s Supplemental Objections and Responses to
9     Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.’s Third Set of
10    Interrogatories to Defendant Apple Inc. (Nos. 11-13) at 16-18, 27.
11          28.   Apple’s “Project Rover” sought to identify a third-party expert that Apple
12    could use as a “stepping stone” to release its own products. JTX-260. Apple identified
13    Masimo as a “Tier 1” “Target” for “Sensor Components” and later elevated Masimo
14    Corp. and Cercacor to the two “standout” companies. JTX-556; JTX-259. Apple
15    approached Masimo to conduct a “deeper dive” into Masimo’s technology and discuss
16    how Apple could integrate Masimo’s technology. JTX-720. Apple concluded that Joe
17    Kiani was the “health/wellness leader we are looking for” and discussed acquiring
18    Masimo. JTX-394. Apple then recruited Masimo’s Chief Medical Officer, Michael
19    O’Reilly.
20          29.   In September 2013, Apple executives concluded Apple’s sensor designs
21    were a “mess” and on a path to failure. JTX-335 at -321; JTX-337 at -427-28; JTX-400
22    at -580; Mansfield Tr. at 32-35, 41. Cercacor’s Chief Technical Officer, Marcelo
23    Lamego, then reached out to Apple in October 2013 and offered to solve Apple’s
24    problems. JTX-1719. Apple’s “Project Everest” then discussed how to engage with
25    Masimo, including by joint development, acquisition, or acquisition of Masimo’s
26    people. JTX-263. Apple then hired Lamego for his “specialized experience that we are
27    deeply in need of.” JTX-265. And Apple started a “confidential” project to pursue the
28    “next level down” of Masimo employees. JTX-2070. Apple then hired numerous other

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1     Masimo employees. JTX-165; Kiani ¶¶ 178-181, 183, 190, 202 209; JTX-165, 176, 664,
2     768, 771; Defendant Apple Inc.’s Supplemental Objections and Responses to Plaintiffs
3     Masimo Corporation and Cercacor Laboratories, Inc.’s Third Set of Interrogatories to
4     Defendant Apple Inc. (Nos. 11-13) at 16-18, 27.         Apple specifically sought the
5     “exclusive knowledge” of Masimo employees—not their “general” experience as Apple
6     argues. See, e.g., JTX-165.
7            30.   Witness testimony will confirm that Apple sought out, obtained, and used
8     Masimo’s confidential information from Lamego. Lamego testimony will confirm that
9     he repeatedly used and disclosed Masimo’s trade secrets at Apple.
10           31.   Apple’s other witnesses, such as Hotelling, Land, Block, Perica, Mansfield,
11    and Sellers will testify as to Apple’s acquisition, use, and disclose of Masimo’s trade
12    secrets.
13                       iii.   Apple Misappropriated Trade Secret L4
14           32.   Dr. Madisetti explained Apple’s misappropriation of L4. Madisetti ¶¶ 79,
15    95-114. Apple’s witnesses will provide evidentiary support for Dr. Madisetti’s analysis.
16    JTX-84, 143, 434, 1061, 1063, 1064, 1068, 1069, 1070, 1072, 1045, 1076-80, 1790.
17                       iv.    Apple Misappropriated Trade Secret L5
18           33.   Dr. Madisetti explained Apple’s misappropriation of L5. Madisetti ¶¶ 79,
19    138-61. Apple’s witnesses will provide evidentiary support for Dr. Madisetti’s analysis.
20    JTX-143, 181-186, 162, 353C, 541, 859, 1140, 1086, 1156, 5079-83, 5113, 5115, 5159.
21                       v.     Apple Misappropriated Trade Secret D1
22           34.   Dr. Madisetti explained Apple’s misappropriation of D1. Madisetti ¶¶ 79,
23    186-94. Apple’s witnesses will provide evidentiary support for Dr. Madisetti’s analysis.
24    JTX-14, 140, 142, 143, 153, 154, 161, 162, 273,         851, 853,        238, 412, 415,
25    880.
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1                        vi.    Apple Misappropriated Trade Secret D3
2           35.    Dr. Madisetti explained Apple’s misappropriation of D3. Madisetti ¶¶ 79,
3     212-16. Apple’s witnesses will provide evidentiary support for Dr. Madisetti’s analysis.
4     JTX-154, 162, 847,        880.
5                        vii.   Apple Misappropriated Trade Secret D10
6           36.    Dr. Madisetti explained Apple’s misappropriation of D10. Madisetti ¶¶ 79,
7     250-52. Apple’s witnesses will provide evidentiary support for Dr. Madisetti’s analysis.
8     JTX-14, 142, 143, 847, 880,
9                        viii. Apple Is Also Vicariously Liable For Lamego’s Wrongful
10                              Conduct
11          37.    Masimo also presented evidence that Lamego used Masimo’s trade secrets
12    in the course and within the scope of his employment and disclosed those trade secrets
13    to Apple in technical discussions, business discussions, marketing discussions,
14    documents, and invention disclosures. See supra § III. G. Thus, Apple is liable under
15    the doctrine of respondeat superior.
16                 c.    Apple’s Misappropriation Of Every Trade Secret Was Willful
17                       And Malicious
18          38.    The evidence discussed above also shows Apple’s misappropriation was
19    willful and malicious. Apple acted specifically to obtain Masimo’s trade secrets by
20    hiring Masimo’s employees with specialized and exclusive knowledge.                 Steven
21    Hotelling was tasked with the job of recruiting such employees from Masimo and
22    Cercacor, as explained above.
23    C.    Correction of Inventorship of U.S. Patents
24          1.     Legal Standard
25          39.    Masimo must prove by clear and convincing evidence that the alleged
26    inventor:
27          a. contributed to the conception of at least one limitation in at least one claim of
28    the patent; and

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1            b. this contribution was not insignificant in quality, when that contribution is
2     measured against the dimension of the full invention. quality, when that contribution is
3     measured against the dimension of the full invention.” Fina Oil & Chem. Co. v. Ewen,
4     123 F.3d 1466, 1473 (Fed. Cir. 1997).
5            40.     Moreover, a person can be an inventor if he or she contributed to the
6     conception of at least one limitation in at least one claim of the patent: “the law of
7     inventorship does not hinge co-inventor status on whether a person contributed to the
8     conception of all the limitations in any one claim of the patent.” Eli Lilly & Co. v.
9     Aradigm Corp., 376 F.3d 1352, 1361-62 (Fed. Cir. 2004) (“the law of inventorship does
10    not hinge co-inventor status on whether a person contributed to the conception of all the
11    limitations in any one claim of the patent.”). “Rather, the law requires only that a co-
12    inventor make a contribution to the conception of the subject matter of a claim.” Id.;
13    Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456, 1462 (Fed. Cir. 1998) (if an omitted
14    inventor conceived of one part of one limitation of a long claim then “he contributed to
15    the subject matter of” the claim and he was properly added as an inventor because the
16    claim “includes the elements that [he] contributed to the invention according to the
17    district court’s findings.”); In re VerHoef, 888 F.3d 1362, 1366 (Fed. Cir. 2018), as
18    amended (May 7, 2018) (contribution of one limitation in a two-limitation claim
19    sufficient).
20           41.     “The inventors need not work physically together or contemporaneously to
21    be joint inventors; nor must each inventor contribute equally or to each claim of the
22    patent.” Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d
23    1290, 1298, 1297 (Fed. Cir. 2009). “Rather, each needs to perform only a part of the
24    task which produces the invention.” Ethicon, 135 F.3d at 1460.
25           42.     Someone can be a co-inventor even if he “placed his contribution in the
26    prior art more than one year before” making his contribution. Pannu v. Iolab Corp., 155
27    F.3d 1344, 1351 (Fed. Cir. 1998) (contrary argument “is mistaken”); see also Dana-
28    Farber Cancer Inst., Inc. v. Ono Pharm. Co., 964 F.3d 1365, 1372-73 (Fed. Cir. 2020)

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1     (“Inventorship of a complex invention may depend on partial contributions to
2     conception over time, and there is no principled reason to discount genuine contributions
3     made by collaborators because portions of that work were published prior to conception
4     for the benefit of the public.”).
5           2.     Mohamed Diab Should Be A Named Inventor On Four Apple Patents
6                  a.     U.S. Patent No. 10,078,052
7           43.    Diab’s notebooks and patents show that Diab developed reflective sensors
8     before Lamego came to Masimo. Diab ¶¶ 229; JTX-1227; JTX-1910. Indeed, Diab
9     taught Lamego about sensor reflective surface technologies. Diab ¶¶ 139, 230. Apple
10    agreed that reflective surfaces were the focus of the invention of the ’052 Patent.
11    Madisetti ¶ 293.
12          44.    Diab should be named as an inventor U.S. Patent Nos. 10,078,052, because
13    he conceived of reflective surfaces, not Lamego, and reflective surface, is one limitation
14    of at least Claim 1 of the ’052 Patent. Madisetti ¶¶ 266, 296; JTX-1239.
15                 b.     U.S. Pat. No. 10,247,670
16          45.    In addition, Diab should be named as an inventor on the ’670 Patent
17    because he conceived of reflective surfaces, not Lamego, and reflective surface is one
18    limitation of at least Claim 1 of the ’670 patent. Madisetti ¶¶ 266, 296; JTX-1239. Apple
19    agreed that reflective surfaces were the focus of the invention of the ’670 Patent.
20    Madisetti ¶ 293.
21                 c.     U.S. Patent No. 9,952,095
22          46.    Diab’s developed analog front-end processing before Lamego came to
23    Masimo. Diab ¶¶ 92-99; JTX-1267. Indeed, Diab taught Lamego about analog front-
24    end processing technologies. Diab ¶¶ 139, 230.
25          47.    Diab should be named as an inventor ’095 Patent because he conceived of
26    the analog front-end processing, not Lamego, and that processing forms part of many
27    limitations of at least Claim 17 of the patent ’095 Patent. Madisetti ¶¶ 266, 297, 306.
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1                  d.     U.S. Patent No. 11,009,390
2           48.    In addition, Diab should be named as an inventor on the ’390 Patent
3     because he conceived of the analog front-end processing, not Lamego, and that
4     processing forms part of many limitations of at least Claim 1 of the ’390 Patent. Id.
5     D.    Declaratory Judgment of Patent Ownership of U.S. Patents
6           1.     Legal Standard
7           49.    To prove an ownership interest in a patent requires proof by a
8     preponderance of the evidence that: (1) at least one inventor assigned their interest to the
9     purported owner; or (2) made their inventive contribution to the patent at a time and
10    under conditions that created an obligation to assign to the purported owner their rights
11    in such inventions; or both. See Beech Aircraft Corp. v. EDO Corp., 990 F.2d 1237,
12    1248-1249 (Fed. Cir. 1993).
13          2.     Masimo is a Co-Owner of the ’052, ’670, ’095, and ’390 Patents
14                 Because Diab Made His Inventive Contributions While Employed By
15                 Masimo And Cercacor
16          50.    Diab assigned to Masimo all rights in inventions he conceived while
17    employed by Masimo. Diab ¶ 77; JTX-2981.1; JTX-1673 at 684-687; see also JTX-
18    1673 at 692-696, 688-689, 657-659, 611-615, 596-600, 666-668. Because Diab made
19    his inventive contribution of at least one claim of the ’052, ’670, ’095, and ’390 Patents,
20    Masimo has an ownership interest in each of these Patents.
21          3.     Masimo is a Co-Owner of the Five Patents-At-Issue Because Lamego
22                 Made His Allegedly Inventive Contributions While Employed By
23                 Masimo And Cercacor
24          51.    Diab and Kiani testified that Lamego had no understanding of noninvasive
25    physiological monitoring when he first joined Masimo, Diab worked daily with Lamego,
26    and Diab explained everything about Masimo’s technology to Lamego. Kiani ¶ 150;
27    Diab ¶¶ 138-139.
28

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1           52.    Lamego signed agreements assigning to Masimo all rights in inventions he
2     conceived while employed by Masimo. See Miller ¶¶ 18, 20-21, 23; JTX-810, 1312,
3     2978. Lamego also assigned to Cercacor all rights in inventions he conceived while
4     employed by Cercacor. Hammarth ¶¶ 30, 33, 35; Kiani ¶ 160; JTX-769, 808, 810, 2233,
5     2266, 2263, 2388, 2514.
6                  a.     U.S. Pat. No. 10,078,052
7           53.    Diab testified, and the documentary evidence confirms, that Lamego was
8     exposed to the concept of using reflectors and reflective surfaces in sensors to increase
9     the signal while employed by Masimo and Cercacor. See Diab ¶¶ 139, 217, 229-30;
10    JTX-343, 777, 1206, 1207, 1209, 1211, 1227, 1910, JTX-P-0005.
11          54.
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13                                                       Ness ¶ 20; Madisetti ¶ 293.
14          55.
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23                 Madisetti testified that the evidence regarding reflectance confirmed that
24    Lamego learned of his contribution to the ’052 Patent while employed by Masimo and
25    Cercacor. See Madisetti ¶¶ 293-96; JTX-1910 at 669, JTX-1227 at 574, JTX-777, JTX-
26    1206 at 622 & 650, and JTX-1207 at 694, 7008, & 7010. Because Lamego made his
27    inventive contribution of reflective surfaces that is part of at least Claim 1 of ’052 Patent
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1     at Masimo and he assigned his ideas made while at Masimo to Masimo, Masimo has an
2     ownership interest in the ’052 Patent.
3                  b.       U.S. Pat. No. 10,247,670
4           57.    As explained above, Diab taught the concept of reflective surfaces to
5     Lamego. Madisetti testified that the evidence regarding reflectance confirmed that
6     Lamego learned of his contribution to the ’670 Patent while employed by Masimo and
7     Cercacor. See Madisetti ¶¶ 293-96, JTX-1910 at 669, JTX-1227 at 574, JTX-777, JTX-
8     1206 at 622, 650, and JTX-1207 at 694, 7008, 7010.
9           58.    Because Lamego made his inventive contribution of reflective surfaces that
10    is part of at least Claim 1 of ’670 Patent at Masimo and he assigned his ideas made while
11    at Masimo to Masimo, Masimo has an ownership interest in the ’670 Patent.
12                 c.       U.S. Pat. No. 9,952,095
13          59.    Diab testified that he created the analog front-end subject matter at Masimo.
14    See Diab ¶¶ 92-98; JTX-1267. Diab helped develop the concepts shown and described
15    in the ’272 patent in the early 1990s. JTX-1267 at -812; Diab ¶ 92. Kiani and Diab
16    testified that Lamego had no understanding of noninvasive physiological monitoring
17    when he first joined Masimo, Diab worked daily with Lamego, and Diab explained
18    everything about Masimo’s technology to Lamego, including analog frontend
19    technology. Kiani ¶ 150; Diab ¶¶ 138-139.
20          60.    Madisetti’s opinions and analysis of the evidence regarding the analog front
21    end subject matter confirmed that Lamego learned of this subject matter and made his
22    contribution to the ’095 and ’390 Patents while employed by Masimo and Cercacor. See
23    Madisetti ¶¶ 305-06; JTX-1267, JTX-1206.
24          61.    Because Lamego made his inventive contribution of analog frontend
25    processing that is part of at least Claim 17 of ’095 Patent while at Masimo and he
26    assigned his ideas made while at Masimo to Masimo, Masimo has an ownership interest
27    in the ’095 Patent.
28

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1     features unrelated to Apple’s misappropriation. Id. ¶ 41. He did so by comparing
2     Apple’s profit on the Series 6 and 7, which include blood oxygen, ECG, and an always-
3     on display, to Apple’s profit on Series SE, which was sold simultaneously with the Series
4     6 and 7 but lacked those features. Id. ¶¶ 62-66, 72. Finally, he valued the blood-oxygen
5     feature by determining how much of the profit difference between Series 6-7 and Series
6     SE was attributable to the blood-oxygen feature.
7     F.    Remedies
8           68.    “[C]ourts of equity have broad discretion in shaping remedies.” Garcia v.
9     Lawn, 805 F.2d 1400, 1403 (9th Cir. 1986). Rule 54(c) provides:
10          A default judgment must not differ in kind from, or exceed in amount, what is
11          demanded in the pleadings. Every other final judgment should grant the relief to
12          which each party is entitled, even if the party has not demanded that relief in its
13          pleadings.
14          69.    “Rule 54(c) has been liberally construed, leaving no question that it is the
15    court’s duty to grant whatever relief is appropriate in the case on the facts proved.”
16    Kaszuk v. Bakery & Confectionary Union & Indus. Int’l Pension Fund, 791 F.2d 548,
17    559 (7th Cir. 1986) (quoting and citing numerous authorities); see Cal. Ins. Guar. Ass’n
18    v. Burwell, 227 F. Supp. 3d 1101, 1116 (C.D. Cal. 2017). This Court’s equitable power
19    to issue injunctive relief applies even if Masimo had not specifically requested it. See
20    Masimo v. True Wearables, 2022 WL 2173073, at *3 (C.D. Cal. May 17, 2022).
21          1.     Permanent Injunction on Trade Secret Claims
22                 a.    Legal Standard
23          70.    A prevailing plaintiff may receive an injunction to prevent “actual or
24    threatened misappropriation” of trade secrets. Cal. Civ. Code § 3425.2(a).
25          71.    A plaintiff seeking a permanent injunction must demonstrate: (1) that it has
26    suffered an irreparable injury; (2) that remedies available at law, such as monetary
27    damages, are inadequate to compensate for that injury; (3) that, considering the balance
28    of hardships between the plaintiff and defendant, a remedy in equity is warranted; and

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1     (4) that the public interest would not be disserved by a permanent injunction. eBay Inc.
2     v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006); see Equate Media, Inc. v. Suthar,
3     2024 WL 1217217, *3 (C.D. Cal. Mar. 20, 2024) (applying eBay test in action for trade
4     secret misappropriation under the California Uniform Trade Secrets Act.)
5           72.    Many courts have recognized that “[a] finding of misappropriation is
6     generally adequate for a finding of irreparable injury in trade secret cases.” Equate
7     Media, Inc. v. Suthar, 2024 WL 1217217, *3 (C.D. Cal. Mar. 20, 2024) (quoting Monster
8     Energy Co., v. Vital Pharms., Inc., 2023 WL 8168854, *18 (C.D. Cal. Oct. 6, 2023) and
9     Comet Techs. USA Inc. v. XP Power LLC, 2022 WL 4625149, *2 (N.D. Cal. Sept. 30,
10    2022)). Loss of competitive advantage also demonstrates irreparable harm. Brocade
11    Commc’ns Sys., Inc. v. A10 Networks, Inc., 2013 WL 890126, at *9 (N.D. Cal. Jan. 23,
12    2013).
13          73.    Injunctive relief is necessary to protect against harm from future
14    misappropriation. Equate Media, Inc. v. Suthar, 2024 WL 1217217, *3 (C.D. Cal. Mar.
15    20, 2024); Trans-World Mfg. Corp. v. Al Nyman & Sons, Inc., 750 F.2d 1552, 1565 (Fed.
16    Cir. 1984) (injunctions are “designed to prevent future infringement, and damages are
17    awarded as compensation for past infringement.”) Remedies that may be available at
18    law, such as monetary damages, are inadequate to compensate for harm from future
19    misappropriation. Universal Bldg. Maint. LLC v. Calcote, 2022 WL 18397628, *6 (C.D.
20    Cal. Nov. 7, 2022) (“Monetary damages are inadequate because without equitable relief,
21    [defendant] can still possess and use the confidential information.”).
22          74.    Restraining a party from unlawful conduct imposes no hardship. Equate
23    Media, Inc. v. Suthar, 2024 WL 1217217, *3 (C.D. Cal. Mar. 20, 2024); see also
24    Monster Energy Co., v. Vital Pharms., Inc., 2023 WL 8168854, *18 (C.D. Cal. Oct. 6,
25    2023) (permanent injunction restraining a defendant from further misappropriation
26    “would not work any hardship on [the defendant], which has no right to use the
27    information in the first place.”) (quoting Vinyl Interactive, LLC v. Guarino, 2009 WL
28    1228695, *8 (N.D. Cal. May 1, 2009).

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1           75.    Numerous courts have recognized “the public has a strong interest in
2     ensuring trade secrets are protected.” Equate Media, Inc. v. Suthar, 2024 WL 1217217,
3     *3 (C.D. Cal. Mar. 20, 2024) (quoting Comet Techs. USA Inc. v. XP Power LLC, 2022
4     WL 4625149, *5 (N.D. Cal. Sept. 30, 2022)); see also Monster Energy Co., v. Vital
5     Pharms., Inc., 2023 WL 8168854, *18 (C.D. Cal. Oct. 6, 2023) (“[T]he public interest
6     favors the vindication of intellectual property rights.”) (collecting cases).
7                  b.     The Court Should Enjoin Apple From Misappropriating
8                         Masimo’s and Willow’s Trade Secrets
9           76.    Masimo will prove by a preponderance of the evidence that Apple’s further
10    use and disclosure of Masimo’s trade secrets would cause Masimo an irreparable injury.
11    If Apple were allowed to continue to use Masimo’s trade secrets, Apple would unfairly
12    receive the benefit of the trade secrets allowing Apple to unfairly compete with Masimo.
13    Masimo also risks public disclosure of its trade secrets, thereby causing Masimo further
14    irreparable injury. Masimo will also prove that the theft of Masimo’s technology by
15    Apple has harmed its innovation process by chilling open engineering collaboration at
16    Masimo.
17          77.    Masimo will prove by a preponderance of the evidence that any monetary
18    award to allow Defendants to continue to misappropriate Masimo’s trade secrets would
19    be inadequate to compensate Masimo for such misappropriation.
20          78.    Masimo will show by a preponderance of the evidence that the balance of
21    hardships tip in favor of Masimo. The injunction in this case imposes no hardship on
22    Apple, because the injunction does not restrain Apple from any lawful conduct.
23          79.    Masimo will show by a preponderance of the evidence that the public
24    interest would not be disserved by a permanent injunction.
25          80.    Based on the foregoing, Defendants should be permanently enjoined from
26    further misappropriating Masimo’s Asserted Trade Secrets. Specifically, Apple should
27    be permanently enjoined from:
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1           85.    Apple should be directed to take all necessary steps to ensure the United
2     States Patent and Trademark Office corrects inventorship and names Diab as an inventor
3     on the ’052, ’670, ’095, and ’390 Patents.
4           3.     Declaration of Patent Co-Ownership
5                  a.     Legal Standard
6           86.    To prove an ownership interest in a patent requires proof by a
7     preponderance of the evidence that: (1) at least one inventor assigned their interest to the
8     purported owner; or (2) made their inventive contribution to the patent at a time and
9     under conditions that created an obligation to assign to the purported owner their rights
10    in such inventions; or both. See Beech Aircraft Corp. v. EDO Corp., 990 F.2d 1237,
11    1248-1249 (Fed. Cir. 1993).
12                 b.     The Court Should Declare Masimo and/or Willow are Patent
13                        Co-Owners
14          87.    Masimo will prove by a preponderance of the evidence that, when Marcelo
15    Lamego contributed to the conception of at least one limitation in at least one claim of
16    the ’052, ’670, ’095, ’754, and ’390 Patents, he was contractually obligated to assign
17    those inventions to Masimo and/or Willow.
18          88.    Masimo will prove by a preponderance of the evidence that, when
19    Mohamed Diab contributed to the conception of at least one limitation in at least one
20    claim of the’052, ’670, ’095, and ’390 Patents, he was contractually obligated to assign
21    those inventions to Masimo and/or Willow.
22          89.    Masimo and/or Willow will prove it should be added as an owner of the
23    ’052, ’670, ’095, ’754, and ’390 Patents.
24          90.    Masimo and/or Willow will prove it should be added as an owner of all
25    foreign and domestic patent applications, patents, continuations, divisionals, and
26    reissues that claim priority to one or more of the following: the ’052, ’670, ’095, ’754,
27    and ’390 Patents.
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1           4.      Constructive Trust
2                   a.    Legal Standard
3           91.     “One who gains a thing by fraud, accident, mistake, undue influence, the
4     violation of a trust, or other wrongful act, is, unless he or she has some other and better
5     right thereto, an involuntary trustee of the thing gained, for the benefit of the person who
6     would otherwise have had it.” Cal. Civ. Code § 2224.
7                   b.    The Court Should Impose a Constructive Trust Upon Apple as
8                         Trustee for Masimo’s Benefit
9           92.     Because of Apple’s trade secret misappropriation and filing for patents with
10    inventions based on work at Masimo and Cercacor, Apple should be ordered to be an
11    involuntary trustee for the ’052, ’670, ’095, ’754, and ’390 Patents for the benefit of
12    Masimo and/or Willow.
13          93.     Apple should be directed to take all necessary steps to maintain the ’052,
14    ’670, ’095, ’754, and ’390 Patents, including paying all maintenance fees through
15    expiration.
16          94.     Apple should be directed to maintain all foreign and domestic patent
17    applications, patents, continuations, divisionals, and reissues that claim priority to one
18    or more of the ’052, ’670, ’095, ’754, and ’390 Patents.
19          5.      Attorneys’ Fees and Costs
20                  a.    Legal Standard
21          95.     When willful and malicious misappropriation exists, the Court may award
22    reasonable attorneys’ fees and costs to the prevailing party. Cal. Civ. Code § 3425.4;
23    Monster Energy Co. v. Vital Pharms., Inc., 2023 WL 8168854, at *21 (C.D. Cal. Oct. 6,
24    2023).
25          96.     An award under § 3425.4 is “equitable in cases against well-funded
26    defendants that commit acts of misappropriation that undermine legitimate competition
27    and innovation.” Mattel, Inc. v. MGA Ent., Inc., 801 F. Supp. 2d 950, 956 (C.D. Cal.
28    2011) (defendants “profits from its acts of misappropriation far exceeded the costs

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1     [plaintiff] incurred in prosecuting this lawsuit, and any incentive to misappropriators
2     must be eradicated through the award of fees…”). A “sophisticated corporate scheme
3     of misappropriation” supports a finding of willful and malicious misappropriation.
4     Rogers v. B. Braun Medical, Inc., Civ. No. 98-cv-250-B (RBB), Dkt. 390 at 12 and Dkt.
5     415 (S.D. Cal. September 13, 2004). A “prolonged, covert” scheme of misappropriation
6     supports a finding of willfulness and maliciousness.            Keating v. Jastremski,
7     2021 WL 1195868, at *6 (S.D. Cal. Mar. 30, 2021). Awards under § 3425.4 are also
8     “appropriate to deter intentional misconduct.” Eldorado Stone LLC v. Renaissance
9     Stone, 2007 WL 3308099, at *1 (S.D. Cal. Oct. 24, 2007).
10                 b.    Because Apple’s Misappropriation Was Willful and Malicious,
11                       Apple Should Pay Masimo and Cercacor Their Reasonable
12                       Attorneys’ Fees and Costs
13           97.   Because Apple’s misappropriation was willful and malicious, prolonged
14    and covert, Masimo should be awarded reasonable attorneys’ fees and costs in an amount
15    to be determined after further briefing. This award should also include post-judgment
16    interest.
17    G.     Apple Cannot Establish Any Of The Defenses It Preserved
18           1.    Statute of Limitations
19                 a.    Legal Standard
20           98.   Under the CUTSA, the statute of limitations does not begin to run when
21    the cause of action accrues. Rather, “[a]n action for [trade secret] misappropriation must
22    be brought within three years after the misappropriation is discovered or by the exercise
23    of reasonable diligence should have been discovered.”          Cal. Civ. Code § 3426.6
24    (emphases added). CUTSA effectively incorporates the common law discovery rule into
25    the statutory predicate for triggering the limitations period. See Alamar Biosciences Inc.
26    v. Difco Labs. Inc., 1996 WL 648286, at *3 (E.D. Cal., Feb. 27, 1996) (citing Wilshire
27    Westwood v. Atlantic Richfield, 20 Cal. App. 4th 739, 740 (1993)) (“Under both the
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1     California common law ‘discovery rule’ and the [C]UTSA, the limitations period begins
2     when the plaintiff has actual or constructive notice of the facts giving rise to the claim.”).
3             99.   A trade secret plaintiff “should have discovered the misappropriation” only
4     when there is both “reason to suspect that a trade secret has been misappropriated, and
5     a reasonable investigation would produce facts sufficient to confirm this suspicion
6     (and justify bringing suit).” Dkt. 2159 at 14 (quoting Dkt. 606 at 3) (emphases added);
7     Hays v. VDF Futureceuticals, Inc., 2016 WL 5660395, at *3 (D. Haw. Sept. 28, 2016).
8     Mere “suspicion that [trade secrets] theoretically could be shared provides an
9     insufficient basis for filing a trade secret misappropriation claim.” Dkt. 2159 at 14;
10    Dkt. 606 at 7 (citing Cypress Semiconductor Corp.v. Superior Ct., 163 Cal. App. 4th
11    575, 587, (2008)).
12                  b.     Apple Cannot Establish the Statute of Limitations Began to
13                         Run More Than Three Years Before Masimo Filed Suit
14                         i.      Masimo Did Not Have Actual Knowledge of Apple’s
15                                 Misappropriation Before January 9, 2017
16            100. Masimo did not discover Apple’s misappropriation of Masimo’s trade
17    secrets until after long January 9, 2017. Masimo’s CEO, Joe Kiani, testified that he
18    learned Lamego shared Masimo trade secrets with Apple when he saw Apple patents
19    naming Lamego as an inventor in October 2019 that disclosed work done by Mr. Diab
20    and Jereon Poeze. Kiani ¶ 221. No evidence suggests that Masimo discovered any
21    Apple     patents    or    publications   disclosing   Apple’s   misappropriation      before
22    January 9, 2017. See also supra, § III.K (and evidence cited therein).
23                         ii.     Masimo Did Not Have Constructive Knowledge of
24                                 Apple’s Misappropriation Before January 9, 2017
25            101. Apple provided no evidence that Masimo could have discovered the
26    misappropriation before January 9, 2017. See Cal. Civ. Code § 3426.6.
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1                                       (b)    Masimo Could Not Have Discovered Facts
2                                              Sufficient To Bring A Claim Before
3                                              January 9, 2017
4           106. Regardless of when Masimo should have become suspicious, no evidence
5     indicates that an investigation would have revealed facts sufficient to bring a claim for
6     misappropriation that satisfies Rule 11. See supra § III.L (and evidence cited therein).
7           2.      Laches
8                   a.    Laches Does Not Apply To Legal Claims Such as Trade Secret
9                         Misappropriation
10          107. Apple’s laches defense is superfluous in this bench trial. Apple concedes
11    that laches, as an equitable defense, cannot bar a legal claim for misappropriation of
12    trade secrets that is filed within the statute of limitations. See Dkt. 1904 at 4 (“the parties
13    agree that laches may be applied as an equitable bar to untimely misappropriation
14    claims”). Thus, as long as Masimo brought its claim for misappropriation within the
15    statute of limitations, Apple’s laches defense does not apply. Whereas, if Masimo’s
16    claim were barred by the statute of limitations, Apple’s laches defense would be
17    irrelevant.
18          108. Masimo previously explained that Apple’s laches defense does not apply
19    to legal claims for which the legislature expressly provided a statute of limitations
20    period. See Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 678 (2014) (“laches
21    is a defense developed by courts of equity; its principal application was, and remains, to
22    claims of an equitable cast for which the Legislature has provided no fixed time
23    limitation”); id. at 679 (“we adhere to the position that, in face of a statute of limitations
24    enacted by Congress, laches cannot be invoked to bar legal relief”). The Supreme Court
25    recently elaborated that “[t]he enactment of a statute of limitations necessarily reflects a
26    congressional decision that the timeliness of covered claims is better judged on the basis
27    of a generally hard and fast rule rather than the sort of case-specific judicial
28    determination that occurs when a laches defense is asserted…applying laches within a

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1     limitations period specified by Congress would give judges a “legislation-overriding”
2     role that is beyond the Judiciary’s power. SCA Hygiene Prods. Aktiebolag v. First
3     Quality Baby Prods., LLC, 580 U.S. 328, 334-35, (2017). Pinkette Clothing, Inc. v.
4     Cosm. Warriors Ltd., 894 F.3d 1015, 1024 (9th Cir. 2018); see Cnty. of Oneida v. Oneida
5     Indian Nation of N.Y., 470 U.S. 226, 245 at n.16 (1985) (“application of the equitable
6     defense of laches in an action at law would be novel indeed”); Connolly v. Trabue, 204
7     Cal. App. 4th 1154, 1164, (2012). The California Court of Appeal recently cited Petrella
8     and SCA Hygiene and explained that, “[e]ven where equitable claims are combined with
9     actions at law, laches remains unavailable as a defense to the legal claims.” Blaser v.
10    State Teachers’ Ret. Sys., 86 Cal. App. 5th 507, 540 (2022), review denied (Mar. 15,
11    2023).
12          109. Trade secret misappropriation is a legal claim for which the California
13    legislature expressly provided a statute of limitations. See Cal. Civ. Code § 3426.6.
14    Thus, laches is simply not a defense to trade secret misappropriation, regardless of
15    whether Masimo also sought equitable relief. See Petrella, 572 U.S. at 678-79; SCA
16    Hygiene, 580 U.S. at 334-35; Oneida, 470 U.S. at 244, n.16; Pinkette, 894 F.3d at 1024;
17    Connolly, 204 Cal. App. 4th at 1164; Blaser, 86 Cal. App. 5th at 540.
18          110. Nor could Apple satisfy the elements of laches.
19                b.     Legal Standard
20          111. In general, “‘[t]he defense of laches requires [1] unreasonable delay plus
21    either [2a] acquiescence in the act about which plaintiff complains or [2b] prejudice to
22    the defendant resulting from the delay.’”         Johnson v. City of Loma Linda,
23    24 Cal. 4th 61, 68 (2000) (quoting Conti v. Board of Civil Service Commissioners, 1 Cal.
24    3d 351, 359 (1969)); see Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396, at
25    *20 (C.D. Cal. Nov. 7, 2022). However, Apple does not argue acquiescence in this case.
26    See Dkt. 2159 at 16-17 (Apple identifying evidence in alleged support of laches). Thus,
27    Apple’s defense of laches would have required it to prove that: (1) Masimo unreasonably
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1     delayed asserting or diligently pursuing a claim for misappropriation of trade secrets;
2     and (2) any delay prejudiced Apple.
3                   c.    Apple Cannot Establish Laches
4                         i.     Apple Cannot Show Masimo Unreasonably Delayed In
5                                Filing Suit
6            112. As explained above, no evidence shows Masimo delayed in bringing suit.
7                         ii.    Apple Cannot Show Masimo Knew Of Apple’s Technical
8                                Trade Secret Misappropriation
9            113. As explained above, no evidence shows Masimo was aware in 2018 or
10    earlier of any Apple patent that contained any Masimo technical trade secrets.
11                        iii.   The Unrebutted Evidence Shows Masimo Filed Suit
12                               Promptly After Learning About Apple’s
13                               Misappropriation In Late 2019
14           114. Kiani was unaware of Apple’s misappropriation until late 2019. Kiani ¶¶
15    221-222. He also explained that Masimo did not delay filing suit. Id. Masimo filed suit
16    just three months after Kiani learned of Apple’s misappropriation.
17           115. The evidence shows that Apple prevented Masimo from learning of the
18    misappropriation before 2019, in part,
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20
21
22             a few months before Masimo discovered it and less than one year before Masimo
23    filed suit.
24                        iv.    Apple Has Not Shown Prejudice
25           116. Apple has not presented any evidence that it suffered any legally cognizable
26    prejudice from when Masimo filed this suit.
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1           3.     Waiver
2                  a.     Legal Standard
3           117. “Under California law, ‘waiver is the intentional relinquishment of a
4     known right after knowledge of the facts.’” Cruz v. Nat’l Steel & Shipbuilding Co., 910
5     F.3d 1263, 1270 (9th Cir. 2018) (quoting Waller v. Truck Ins. Exchange, Inc. 11 Cal.
6     4th 1, 31 (1995)). “The burden ... is on the party claiming a waiver of a right to prove it
7     by clear and convincing evidence that does not leave the matter to speculation, and
8     ‘doubtful cases will be decided against a waiver’” Waller, 11 Cal. 4th at 31 (emphasis
9     added, ellipsis in original) (quoting City of Ukiah v. Fones, 64 Cal. 2d 104, 107-08
10    (1962)); DRG/Beverly Hills, Ltd. v. Chopstix Dim Sum Cafe & Takeout III, Ltd.,
11    30 Cal. App. 4th 54, 60 (1994).
12                 b.     Apple Cannot Establish Waiver
13          118. Apple identifies no act by which Masimo purportedly intentionally
14    relinquished its right to pursue a claim for misappropriation after learning the facts that
15    form the basis for this lawsuit.
16          119. Masimo satisfies the statute of limitations as explained above, so the
17    timing of when Masimo filed suit “cannot constitute waiver of any cause of action… .”
18    Solis v. Couturier, 2009 WL 2022343, at *2 (E.D. Cal. July 8, 2009) (striking
19    affirmative defense of waiver); see also Boys Club of San Fernando Valley, Inc. v. Fid.
20    & Deposit Co., 6 Cal. App. 4th 1266, 1275 (1992) (“Unreasonable delay in asserting a
21    right does not, in itself, warrant a finding of waiver of the right.”) (finding in dicta right
22    to arbitration was neither waived nor barred by laches).
23    H.    Apple Has No Other Defenses
24          120. Apple discusses the following additional defenses that Apple initially pled:
25    readily ascertainable, independent development, independent invention, no causation,
26    and unclean hands. Apple preserved none of these defenses for trial. Dkt. 2177-1 at
27    13-14 (Pretrial Conference Order in which Apple stated it is assertion only laches,
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1     statute of limitations, and waiver). Apple also did not preserve these defenses in the
2     prior pretrial conference order. Dkt. 1483 at 9-10.
3           121. Moreover, in the Court’s Rule 50(a) order, the Court found that most of
4     these defenses were moot because Apple “represented off the record to the Court in
5     preparing the jury instructions that it would no longer advance such defense.” Dkt. 1724
6     at 1924. Accordingly, Apple has no defense other than laches, statute of limitations, and
7     waiver. Apple’s assertions regarding these unasserted defenses are also wrong for the
8     reasons discussed in prior briefing.
9                                   V. MISCELLANEOUS
10          122. Any Conclusion of Law more appropriately characterized in whole
11    or in part as a Finding of Fact shall be deemed a Finding of Fact to that extent.
12                                              Respectfully submitted,
13                                              KNOBBE, MARTENS, OLSON & BEAR, LLP
14
      Dated: October 29, 2024                   By: /s/ Jared C. Bunker
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